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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

DISTRICT OF COLUMBIA,

           Plaintiff,

     v.                                          Case No. 1:21-cv-03267-APM

PROUD BOYS INTERNATIONAL L.L.C. et al.,

           Defendant.




      PLAINTIFF DISTRICT OF COLUMBIA’S OMNIBUS OPPOSITION TO
                  DEFENDANTS’ MOTIONS TO DISMISS
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          Plaintiff District of Columbia (“Plaintiff” or “the District”) submits this consolidated

opposition to five separate motions to dismiss the District’s Amended Complaint (ECF No. 94, the

“Amended Complaint”) filed by 8 of the 37 named Individual Defendants—Klein, Kuehne, C.

Meggs, K. Meggs, Minuta, Pepe, Steele, and Ulrich—and joined by Defendants Harrelson, Biggs,

Tarrio, and Worrell. 1 For the reasons set forth below, each of the Defendants’ motions should be

denied.

                                    PRELIMINARY STATEMENT

          On January 6, 2021, a violent mob of insurgents, led by and including the Defendants and

their coconspirators, stormed the United States Capitol building with the express purpose of

preventing members of Congress and the Vice President from discharging their official

constitutional duties and declaring Joseph Biden the winner of the 2020 Presidential Election. The

leaders, members, and affiliates of the Defendant organizations—the Proud Boys and the Oath

Keepers—worked together to plot, recruit participants for, finance, and ultimately carry out an

attack on the Capitol (the “Attack”).

          As a result of Defendants’ actions—and as they had planned—thousands of individuals,

including the Defendants, convened on the grounds of the U.S. Capitol, stormed police barricades,

and forced their way inside the Capitol to disrupt the members of Congress and the Vice President

who were carrying out their constitutional and statutory duties of receiving and counting the

Electoral College votes. Among those injured in the Attack were scores of officers of the District’s



1
    As of the date of this filing, Defendant Worrell’s motion for joinder (ECF No. 140) has not been
    granted. Nonetheless, for purposes of efficiency and convenience of the Court, the District addresses the
    applicability of the moving Defendants’ arguments to Worrell as if the joinder had been granted. Two Defendants
    filed answers to the Amended Complaint (ECF No. 101 (Defendant Moerschel), 117 (Defendant
    Caldwell)). Service has not yet been completed on three Defendants (Defendants Ochs, Schaffer, and Vallejo).
    The District effected service of the Amended Complaint on Defendant Bru on July 18, 2022, who has until August
    12, 2022 to respond. The remaining Defendants have failed to timely respond to the Amended Complaint.
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Metropolitan Police Department (“MPD”), approximately 1,000 of whom were deployed to the

Capitol and the surrounding area in the wake of the insurrection. The Defendants brutalized these

officers, causing extensive physical and mental injuries—at terrible cost borne by the officers, and

in turn, the District of Columbia.

        The District brought this action to hold the Defendants accountable for the Attack they

unlawfully planned, coordinated, and participated in, and to deter the Defendants and others from

returning to the District to engage in additional acts of violence. In their motions to dismiss, the

Defendants attempt to evade accountability for the laws they violated by contending that the

District does not have constitutional standing to pursue its claims, that it does not have statutory

standing to assert claims under 42 U.S.C. §§ 1985(1) and 1986, and that it did not adequately allege

violations of 42 U.S.C. §§ 1985(1) and 1986 and various common law tort claims.                 The

Defendants’ arguments are all without merit.

        As an initial matter, the contention that the District does not have constitutional standing—

because the District’s alleged injuries purportedly were neither concrete and particularized, nor

traceable to the Defendants’ actions—disregards the well-pleaded facts in the Amended

Complaint. The District specifically alleged the concrete, particularized injuries it suffered,

including, but not limited to, the costs the District has already paid, and continues to pay, for

medical care and other treatment provided to injured MPD officers. These injuries are traceable

to the Defendants, who are alleged to have planned and participated in the conspiracy that caused

the District’s injuries.

        The Defendants also argue that the District does not have “statutory standing” under

Sections 1985 and 1986 because the District and its MPD officers are not “federal officers” or

“federal officer holders.” But Section 1985 expressly authorizes any individual and entity injured




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by those engaged in a Section 1985(1) conspiracy to assert a Section 1985 claim, not just federal

officers. Case law further supports that non-federal officers can bring claims under Section 1985.

The Defendants’ argument that the District does not have statutory standing to assert a claim under

Section 1986 fails for the same reason.

       Additionally, the Defendants assert that the District’s 119-page, meticulously detailed

Amended Complaint does not plausibly allege facts sufficient to adequately plead each of its

claims. Specifically, the Defendants claim that: (1) the Amended Complaint fails to allege their

involvement in a Section 1985 conspiracy, (2) the Amended Complaint failed to allege that the

District’s injuries were caused by the Section 1985 conspiracy, (3) the District’s Section 1986

claim fails because the Defendants were not powerful enough to prevent commission of the Section

1985 conspiracy with “reasonable diligence,” and (4) the Amended Complaint failed to allege facts

sufficient to show that the Individual Defendants, by name, engaged in assault, battery, and/or

intentional infliction of emotional distress. Each of these arguments also fails.

       First, in related cases, this Court already found that the facts of the January 6 Attack were

adequate to plead the existence of a Section 1985 conspiracy that included “the Proud Boys, the

Oath Keepers, [Proud Boys Chairman] Tarrio, and others who entered the Capitol on January 6th

with the intent to disrupt the Certification of the Electoral College vote through force, intimidation,

or threats.” Thompson v. Trump, Nos. 21-cv-400, 21-cv-586, 21-cv-858, 2022 WL 503384, at *33

(D.D.C. Feb. 18, 2022). Accordingly, the Amended Complaint—which alleges the same key facts

as the complaints addressed in the Court’s Thompson decision—sufficiently alleges the

Defendants’ involvement in a Section 1985 conspiracy. Moreover, each of the Defendants has

been charged with crimes arising from their involvement in the January 6 Attack, with several of

the Defendants having been charged with, or having pleaded guilty to, seditious conspiracy. These




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criminal allegations, which are incorporated by reference in the Amended Complaint, further

support the Defendants’ involvement in the conspiracy.

       Second, there is similarly no question that the Amended Complaint plausibly alleges that

the District’s injuries were caused by the Section 1985 conspiracy—and by the Defendants’

involvement in that conspiracy. The Amended Complaint not only describes each Defendant’s

individual acts of violence, but also alleges that Defendants played a leading role in unleashing a

larger mob.    Because Defendants’ conduct was designed to bring about, and substantially

contributed to, the larger mob’s violence, Defendants’ conduct is a proximate cause of that

violence. Indeed, in Thompson, this Court found it “apparent” that injuries resulting from the

January 6 Attack were caused by each coconspirator in the Section 1985 conspiracy. Id. at *10.

       Third, the Defendants’ argument that they did not have the power to prevent the

commission of the Section 1985 conspiracy through “reasonable diligence”—and therefore are not

adequately alleged to have violated Section 1986—has no basis in law. The Defendants have not

cited, and the District cannot identify, any authority supporting the notion that an individual must

have a position of power in a conspiracy in order to violate Section 1986. Moreover, the Amended

Complaint plausibly alleges that the Defendants did not take any steps, let alone “reasonably

diligent” steps, to prevent the conspiracy. Indeed, the Amended Complaint makes clear that the

Defendants took actions to hide their conspiracy from authorities and ensure that it was carried out

to maximum impact.

       Finally, the Defendants’ argument that the District did not plausibly allege claims for

assault, battery, and intentional infliction of emotional distress (IIED) fundamentally

misunderstands the nature of conspiracy. Because the District plausibly alleged that Defendants

entered into a conspiracy for the purpose of disrupting the certification of the Electoral College




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votes (“Certification”) in violation of Section 1985(1), Defendants are vicariously liable for all

reasonably foreseeable tortious acts taken by coconspirators in furtherance of that goal.

        Contrary to Defendants’ assertions, their conduct does not qualify as protected speech

under the First Amendment. Nor is the Amended Complaint so “confusing” that it must be

dismissed for failure to state a short and plain statement of the District’s claims. The miscellaneous

assortment of other arguments and defenses asserted by the Defendants—too numerous to recount

in detail in this preliminary statement, many of which this Court has already rejected in related

cases—similarly have no basis in law or fact. The Defendants’ motions to dismiss should be

rejected in their entirety. 2

                                       FACTUAL BACKGROUND

        This Statement of Facts is drawn from the Amended Complaint’s well-pleaded allegations

and certain documents incorporated therein by reference. The District respectfully refers the Court

to the Amended Complaint for a fuller recitation of the relevant factual background.

        A.       Leading Up to and Immediately Following the 2020 Presidential Election, the
                 Proud Boys and Oath Keepers Prepare to Incite Violence in the District

         Proud Boys International L.L.C. (the “Proud Boys”) is a U.S.-based group that promotes

and engages in political violence. Am. Compl. ¶ 11. At the time of the Attack, its Chairman was

Henry “Enrique” Tarrio. Id. ¶ 44. Nineteen of the 37 named Individual Defendants are members

or affiliates of the Proud Boys. Id. ¶¶ 13-15, 17-18, 20-22, 25, 27-28, 33-34, 37-39, 42, 44, 48.

         The Oath Keepers, a nonprofit corporation founded and led by Elmer Stewart Rhodes III,

is an anti-government militia movement group united by baseless conspiracy theories. Id. ¶¶ 12,

40. Eighteen of the 37 named Individual Defendants are members or affiliates of the Oath Keepers.


2
    As noted supra n. 1, Defendant Caldwell filed a pro se answer in this case on June 16, 2022 (ECF No. 117).
    Insofar as the Court may construe his arguments as the equivalent of a motion to dismiss, they fail for all of the
    same reasons set forth herein.


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Id. ¶¶ 16, 19, 23-24, 26, 29, 30-32, 35-36, 40-41, 43, 45-47, 49. The Proud Boys and the Oath

Keepers—and their members and affiliates—have historically engaged in a range of violent

activities, including, in the case of the Oath Keepers, coordinated armed standoffs with federal

authorities. Id. ¶¶ 61-66, 80-87.

       As the 2020 Presidential Election approached, Defendants openly advertised their

willingness to use violence to secure a second term for then-President Donald Trump. Id. ¶ 95.

For instance, when, during a presidential debate in September 2020, President Trump stated,

“Proud Boys, stand back and stand by,” id. ¶ 96, Proud Boys leader and moving Defendant Joseph

Biggs posted publicly on Parler, “Trump basically said to go fuck them up! [T]his makes me so

happy,” id. ¶ 98. Proud Boys’ Chairman Tarrio also posted, “[s]tanding by sir.” Id. ¶ 98.

Likewise, Oath Keepers members planned their course of action if President Biden were to be

elected. Id. ¶ 100. As one member explained, that plan included “[c]hoos[ing] a side and

fight[ing], looking down the sights of a rifle at our fellow Americans.” Id.

       In the days following the election—as President Trump falsely promoted the baseless

theory that he had won the election—the Defendants trumpeted their plans to bring terror and

violence to the District and recruited others to join their efforts. Id. ¶¶ 102-10. On November 9,

2020, Oath Keepers leader Rhodes hosted an online “[n]ational” members’ call, during which he

outlined a plan to stop the lawful transfer of presidential power, including by force. Id. ¶ 111.

Rhodes urged listeners, including Defendants K. Meggs, Harrelson, Watkins, and Hackett, to go

to the District, explained that others should stay outside the city “fully armed and prepared to go

in armed, if they have to,” id., and threatened a “bloody, bloody civil war,” id.; see also ¶¶ 111-

15, 117, 121-22 (other Oath Keepers Defendants planned for violence). During the same period




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of time, Tarrio and other Proud Boys Defendants similarly promoted violence as a response to

Biden’s electoral victory. Id. ¶¶ 116, 118-19, 123-26.

               1.      The Defendants Carefully Coordinate Their Efforts to Plan the
                       Attack

       On December 19, 2020, President Trump announced on Twitter a “[b]ig protest” in the

District “on January 6th,” saying “Be there, will be wild!” January 6 was the date on which

members of Congress and the Vice President were required, under the U.S. Constitution and

federal law, to count the certified electoral votes and formally declare the winner of the presidential

election. Id. ¶¶ 138-39. Immediately after President Trump’s December 19 announcement, Proud

Boys Defendants and Oath Keepers Defendants began coordinating the Attack. Id. ¶¶ 141-42.

Oath Keepers member and moving Defendant Kelly Meggs announced “an alliance between Oath

Keepers, . . . and Proud Boys,” adding that the two organizations “have decided to work together

and shut this shit down.” Id. ¶ 141 & Fig. 2. Over the next several days, Kelly Meggs elaborated

on this alliance in Facebook posts, writing, among other things, that “at least 50-100” Oath Keepers

would be in the District on January 6; that they would join with the Proud Boys, whom Meggs

described as a “force multiplier”; and that the two groups would position themselves for maximum

impact. Id. ¶ 144 & Fig. 3; see also ¶¶ 146-47 & Fig. 4 (detailing the plan that the Oath Keepers

and Proud Boys “orchestrated”).

       There were several facets to the Defendants’ coordinated planning efforts, including

recruiting new members, strategizing to disguise their identities, collecting weapons and tactical

supplies, and arranging travel to the District.

               2.      Recruitment

       As January 6 neared, Defendants intensified their efforts to recruit coconspirators. Id.

¶ 149. Some Defendants posted calls to action on social media. See, e.g., id. ¶¶ 152, 155-56.



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Defendants also hosted online meetings, id. ¶ 154, and expressed their perceived need to recruit

“real men,” id. ¶ 157. Tarrio and other Proud Boys members created a new “national rally

planning” chapter—the “Ministry of Self Defense,” or “MOSD”—that would include only “hand-

selected” members from across the country. Id. ¶¶ 158-59.

               3.       Disguising Identities

       Many Defendants designed strategies for disguising their identities in order to gain a

tactical advantage against law enforcement during the Attack. Id. ¶ 160. For example, Proud Boys

Defendants announced plans to attend the January 6 rally “incognito” and not “in colors”—the

traditional black and yellow worn by Proud Boys members—so that they would blend in with the

crowd. Id. ¶¶ 161-66.

       Both Defendants Proud Boys and Defendants Oath Keepers also coordinated strategic

methods for secret communication before and during the Attack, including encrypted and

invitation-only messaging that facilitated ongoing communication. Id. ¶¶ 167-69.

               4.       Collection of Weapons and Tactical Supplies

       Oath Keepers members amassed weapons, ammunition, and tactical gear in advance of the

Attack. See ¶¶ 170-82. As just one example, Oath Keepers member and moving Defendant Ulrich

described plans to prepare a backpack filled with ammunition that he could use in case “shit truly

[hits the] fan,” and to “run[] around” carrying a “budget AR[-15].” Id. ¶ 173. Oath Keepers

members also created a “Quick Reaction Force,” or “QRF,” whose members would bring weapons,

ammunition, and tactical equipment to a staging area in Virginia for potential use in the District.

Id. ¶¶ 174-76. In the days leading up to January 6, certain Oath Keepers Defendants, including

Defendants Rhodes, K. Meggs, Harrelson, Watkins, James, Hackett, Moerschel, Ulrich, and

Vallejo, along with other coconspirators, transported firearms, ammunition, and other equipment




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to the Washington D.C. metropolitan area. Id. ¶ 178. Defendant Rhodes alone spent $15,500 on

these firearms and related equipment. Id. ¶ 179.

       Proud Boys members also obtained tactical vests and military-style communications

equipment that could be used during the Attack. Id. ¶ 183. Defendant Nordean—the self-

described “Sergeant-at-Arms” of the Seattle chapter of the Proud Boys—used social media to

solicit donations of “protective gear” and “communications equipment” for the Attack. Id.

               5.     Travel Arrangements

       As part of their planning, promotion, and coordination efforts leading up to the January 6

Attack, Defendants arranged to travel with coconspirators or reserve nearby hotel accommodations

to allow for additional in-person coordination before convening near the Capitol on January 6. Id.

¶ 185. In particular, Oath Keepers Defendants including Caldwell, Watkins, S. Parker, B. Parker,

K. Meggs, and C. Meggs coordinated to convene at the Comfort Inn Ballston in Arlington,

Virginia. Id. ¶ 186. There, as part of their coordination efforts, Oath Keepers Defendants reserved

three rooms for various Quick Reaction Force teams—which would travel from as far as Arizona,

North Carolina, and Florida and use those rooms to store and guard firearms. Id. ¶¶ 186, 188.

       Other Oath Keepers Defendants also communicated with one another as they coordinated

travel, lodging, and weapons collection and storage. Id. ¶¶ 187, 189-99. As just one example, on

January 5, Defendant Steele—firearms in tow—traveled with others from North Carolina to the

Washington D.C. metropolitan area and checked into the Holiday Inn in Springfield, Virginia;

when Steele went into the District the following day for the Attack, she left those firearms in her

group’s vehicle in the hotel parking lot. Id. ¶ 200. In another instance, Defendants C. Meggs, K.

Meggs, and Harrelson attended a firearms class together. Id. ¶ 198.

       Proud Boys Defendants also coordinated travel to the District. Id. ¶ 201. Using an

encrypted messaging application, Defendant Greene participated in a planning channel among


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Proud Boys chapters in New York whose members planned to travel to the District. Id. Greene

also coordinated plans with Defendant Pezzola and other Proud Boys members. Id. Defendants

also fundraised, see, e.g., id. ¶ 202, and paid for one another’s travel costs, id. ¶ 203.

       B.      As January 6 Approaches, the Defendants Fervently Promote the Attack and
               Issue Calls to Action

       Both publicly and in encrypted messages, the Defendants made their plans clear: on

January 6, they would assemble in the District to stop the lawful transfer of presidential power.

Id. ¶¶ 204-37. Oath Keepers leader Rhodes stated explicitly in an interview that if President-elect

Biden assumed the presidency, then a “massively bloody revolution” would be necessary. Id.

¶ 207. Rhodes published an open letter on the Oath Keepers’ website referencing the Certification

of the Electoral College vote that would take place on January 6 and stating that “tens of thousands

of patriot Americans” would be in the District, that many would stow “mission-critical gear” just

outside the District, and that he and others might have to “take to arms in defense of our God given

liberty.” Id. ¶ 208. As January 6 drew nearer, Rhodes continued to advocate using force to stop

the lawful transfer of presidential power. See, e.g., ¶¶ 210-12. Other Oath Keepers leaders and

Defendants joined Rhodes in calling for “action” in the District on January 6 and announcing their

intent to use violence to stop the Certification of the Electoral College vote. E.g., id. ¶¶ 206, 213,

216-17. On January 4, K. Meggs expressed contempt for District police officers, writing on

Facebook, “Fucking DC cops protect those antifa fuckers though pisses me off.” Id. ¶ 215.

       Over the same period of time, Proud Boys Chairman Defendant Tarrio and other Proud

Boys Defendants similarly intensified their promotion of the January 6 Attack. Id. ¶ 218. In

messaging groups consisting of MOSD leaders, members, and prospective members, Tarrio

announced a “top down structure” and advised prospective members to follow leadership’s

directions, id. ¶¶ 219-20, 222-23, 225; and MOSD members discussed “storm[ing] . . . the capital



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[sic],” “push[ing] thru police lines,” and “stack[ing] . . . bodies in front of Capitol Hill,” id. ¶ 233.

The Proud Boys’ operation was explicitly aimed at keeping Trump in power. Id. ¶ 221. Tarrio

promoted the Attack to as many as 7,000 followers on Telegram, asking: “[w]hat if we invade it?”

The first reply answered: “January 6th is D day in America.” Id. ¶ 234. Another MOSD leader

stated in a voice note that the “main operating theater” should be in front of the Capitol, “where

the vote is taking place.” Id. ¶ 236.

         Between December 30 and December 31, 2020, a John Doe Defendant sent Tarrio a nine-

page document titled “1776 Returns,” which detailed a five-part plan for the occupation on January

6 of six to seven government buildings—including House and Senate office buildings around the

Capitol—in an effort to keep Trump in power. Id. ¶¶ 226-29. Part of this document, labeled the

“Patriot Plan,” was apparently intended for public distribution and recommended storming the

target buildings on a timeline that coincides with when the Attack on the Capitol took place. Id.

¶ 229.

         On January 4, as Tarrio arrived in the District, he was arrested for burning a church banner

after a pro-Trump rally in December 2020. Id. ¶ 238. While arresting Tarrio, MPD officers

discovered he possessed two illegal high-capacity firearm magazines bearing the gold Proud Boys

insignia. Id. Within an hour, other MOSD leaders created new encrypted messaging groups in an

effort to evade detection by law enforcement, and then carried on with their planning. Id. ¶¶ 239-

42.

         C.     On the Eve of the Attack, the Defendants Assemble Forces in the District

         By January 5, Proud Boys and Oath Keepers Defendants implemented their plan to descend

on the District. Am. Compl. ¶ 243. Undeterred by law enforcement efforts to prevent violence

and with open disdain for police officers, id. ¶¶ 262-68, Defendants stored their firearms,

confirmed one another’s locations, mapped routes to the Capitol, programmed handheld radios,


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set up yet another encrypted messaging group, and finalized the plan for the following day, id.

¶¶ 244-61. Proud Boys Defendants planned to assemble at the Washington Monument at 10:00

a.m. on January 6, disguised in non-Proud Boys’ colors. Id. ¶¶ 254-55. They also reestablished

contact with Proud Boys Chairman Tarrio, after his release from jail. Id. ¶¶ 256-60.

       After Tarrio’s release—while Tarrio was under a court order to leave the District and less

than 24 hours before the January 6 Attack—Tarrio and Oath Keepers leader Rhodes met in a

parking garage near the Phoenix Park Hotel in downtown Washington D.C. Id. ¶¶ 274-75 & Fig.

5. Four John Does also attended this gathering, which lasted approximately 30 minutes. Id. ¶ 275.

A film crew was also present and detected audio of one participant referencing the Capitol. Id. At

the gathering, Tarrio told another individual that he had cleared all messages from his phone before

his arrest and that no one would be able to access the contents of his phone because “two steps”

were required to gain access. Id. Tarrio then left the District for Baltimore, Maryland, and used

other John Doe coconspirators’ phones to make calls and access his encrypted messaging accounts.

Id. ¶ 276.

       In the early morning on January 6, the Defendants traveled together and convened in the

District. Id. ¶ 278. The Defendants took their positions: Proud Boys’ leadership prepared to

convene at the Washington Monument at 10:00 a.m., while Oath Keepers Defendants armed

themselves and monitored communications. Id. ¶¶ 277-82 & Fig. 6.

       D.      The Defendants Execute the January 6 Attack, Using Coordinated Violence
               to Disrupt the Election Certification Process

       Around 10:00 a.m. on January 6, approximately 100 Proud Boys members from across the

country, including many Individual Defendants, convened at the Washington Monument. Id.

¶ 285. As President Trump spoke at his rally, they marched to the Capitol, led by Proud Boys

leaders including Defendants Nordean and Biggs, and encouraged by President Trump’s calls to



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action.     Id. ¶¶ 286-92, 294-96.      Oath Keepers Defendants equipped themselves with

communication devices, reinforced vests, helmets, and goggles. Id. ¶ 301.

          By approximately 11:30 a.m, a large mob had congregated outside the Capitol, including

Proud Boys and Oath Keepers leaders, certain Defendants, and other members and affiliates. Id.

¶ 304. The Attack escalated around 1:00 p.m., as the Joint Session of Congress and Vice President

Pence convened to carry out their constitutional and statutory duties of receiving and counting the

Electoral College votes. Id. ¶¶ 313-14. MPD and Capitol Police officers in riot gear arrived at the

steps of the Capitol. Id. ¶ 314. Undeterred, the mob—including certain Defendants—pushed

forward, assaulted officers, and rushed toward the Capitol building. Id. ¶ 315. Proud Boys and

Oath Keepers Defendants led the charge, both on-site and by directing and urging on their

coconspirators in encrypted chats. Id. ¶¶ 316-30, 340, 349-54.

          Several Proud Boys Defendants and others, led by moving Defendant Biggs and other

Proud Boys leaders, succeeded in overwhelming the police officers, breached barricades, and

stormed into the plaza on the west side of the Capitol building. Id. ¶¶ 308-12. Oath Keepers

Defendants were among the first to breach the barricades on the Capitol’s east side and rushed

toward the steps leading up to the east-side Rotunda doors. Id. ¶ 331 (explaining that Harrelson

rushed to be in front of the mob storming the Capitol’s east side). Proud Boys member Defendant

Pezzola used a stolen Capitol Police riot shield to break a window of the Capitol and climbed

inside. Id. ¶¶ 333-37 & Fig. 14.

          As the afternoon went on, more Defendants and coconspirators breached the Capitol

building. Shortly after 2:25 p.m., a group of Oath Keepers and John Doe Defendants—including

moving Defendants Harrelson, Steele, K. Meggs, and C. Meggs—joined to form a “military stack”

(“Stack One”) formation and maneuvered up the Capitol steps in a coordinated fashion, with each




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person’s hand on the shoulder of the person in front of them. Id. ¶¶ 345, 347-48 & Fig. 15. Stack

One forced its way through the Rotunda door at the center of the east side of the building. Id.

¶ 356-58. In order to breach the building, the Stack assaulted police officers by throwing objects

at and deploying chemical irritants against them. Id. ¶ 356. Additional Oath Keepers Defendants,

including moving Defendant Ulrich and moving Defendant Minuta, who was armed with bear

spray and tactical gear, formed a second Stack (“Stack Two”) that forcibly entered the Capitol

following the same path that Stack One had taken a few minutes earlier.               Id. ¶¶ 369-70.

Livestreamed video footage showed a scene of violence and terror; as the videographer narrated,

“flash bombs [were] going off.        Rubber pellets were flying everywhere.          Tear gas was

everywhere.” Id. ¶ 371.

       Once inside the Capitol building, the Defendants pushed past law enforcement toward the

Congressional chambers in pursuit of the federal officials carrying out the election Certification

process. Id. ¶¶ 372, 375-76, 398. For example, Oath Keepers member Defendant James—with

Oath Keepers member Defendant Minuta’s encouragement—approached MPD Officer J.M.,

yelled at him, grabbed his vest, and pulled him toward the mob. Id. ¶ 376.

       Defendants’ shared objective was clear: to prevent members of Congress and Vice

President Pence from executing their official duties to certify the Electoral College results. See id.

¶¶ 378-79; ¶ 385 (certain Defendants carried plastic zip handcuffs for capturing and detaining

members of Congress). Indeed, multiple Defendants admitted as much in their guilty pleas. See,

e.g., id. ¶¶ 359, 380. Oath Keepers Defendant Young admitted in his plea agreement that the goal

was to impede Congress’s Certification of the Electoral College vote, id. ¶ 359, and Proud Boys

Defendant Greene admitted the same, id. ¶ 380. Others flaunted on social media that they had

breached the House and Senate chambers. See, e.g., id. ¶ 384.




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       The Attack posed a serious threat to members of Congress, the Vice President, and

congressional staff—so much so that the Joint Session was halted, and Congressional chambers

were evacuated. See id. ¶¶ 381-83. The Joint Session could not reconvene until hours later, at

approximately 8:00 p.m., and at 3:40 a.m. on January 7, the Vice President finally affirmed the

election results and formally declared now-President Biden the President-elect. Id. ¶ 389.

       Throughout the Attack, the Defendants kept in communication with one another. Id. ¶ 403.

Oath Keepers leader Rhodes coordinated logistical details in real time and instructed Oath Keepers

Defendants to report to a particular area on Capitol grounds opposite from where the Proud Boys

were positioned. Id. ¶¶ 340, 343-46; see also id. ¶ 362 (Crowl later confirmed that Defendants

simultaneously attacked the Capitol building through separate doors). Over two-way radios, phone

calls, encrypted messaging applications, and social media, the Defendants continued to coordinate

their movements. Id. ¶¶ 403-08, 413-15. Defendants also exchanged information about the

locations of members of Congress, who were hiding from the mob.               Id. ¶ 409-10.   One

coconspirator communicated to Oath Keepers Defendant Caldwell: “All members are in the

tunnels under capital [sic] seal them in. Turn on gas.” Id. ¶ 411. Defendant Tarrio posted publicly

on social media, encouraging his coconspirators by stating that he was “enjoying the show” and

directing them: “don’t fucking leave.” Id. ¶¶ 349, 351; see also, e.g., ¶¶ 363, 366-67.

       E.      The Defendants Attack MPD and Other Law Enforcement Officers, Causing
               Severe Physical and Psychological Harm

       The Attack necessitated an unprecedented deployment of MPD resources. Id. ¶ 457. The

District deployed approximately 850 MPD officers to the Capitol, and approximately 250

additional MPD officers to the area to support the response and aftermath. Id. MPD officers had

to engage in battle for hours, many forced into hand-to-hand combat to protect the Capitol from

the Defendants and their cohort. Id. ¶ 448.



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       Defendants, their coconspirators and other members of the mob, viciously attacked the

police officers who tried to defend the Capitol, members of Congress, and the Vice President from

the insurrectionists. Id. ¶ 393; see also id. ¶ 376 (describing Defendant James’ attack on MPD

officer J.M.). One MPD officer was beaten by the mob with sticks and crutches, including by one

person wielding an American flag. Id. ¶ 396 & Fig. 32. That MPD officer later recalled in

testimony before the House Select Committee that his attackers lunged at him and tried to grab his

gun while chanting “kill him with his own gun.” Id. ¶ 396. One of the Defendants ripped an

officer’s riot shield as the officer was physically engaged with others. Id. ¶ 397. Other Defendants

joined a mob pushing against a line of riot police officers guarding the hallway connecting the

Rotunda to the Senate. Id. ¶ 400. One of the Defendants commanded the mob to “push, push,

push,” and to “get in there, get in there,” while insisting, “they [the police officers] can’t hold us.”

Id. Members of the crowd also sprayed law enforcement officers with bear mace, which causes

temporary loss of sight, nasal congestion, and, in some, difficulty breathing. Id. ¶ 394. Others

dragged, kicked, trampled, and punched officers; pushed them down stairs; and ran over them in

a stampede. Id. ¶ 395.

       At least 65 MPD officers reported sustaining injuries as a direct result of the January 6

Attack. Id. ¶ 450. One officer, hit by a metal pole and beaten in the face with his own baton,

suffered a concussion and permanent head injuries, and died by suicide after struggling with severe

depression and brain trauma. Id. ¶ 451. Another officer was electrocuted and beaten unconscious.

Id. ¶ 452. Officers also suffered bruises, swelling, lacerations, eye and lung irritation, cracked

ribs, shattered spinal discs, wounds from being hit with a metal fence stake, and head injuries from

blows from various objects. Id. ¶ 453. Officers’ psychological injuries were also extensive. Id.

¶ 454. Dr. Beverly Anderson, a therapist and clinical director of the Metropolitan Police Employee




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Assistance Program, has worked to help nearly 1,000 officers cope with the trauma caused by the

Defendants and their cohort. Id. Dr. Anderson discovered through this work that some officers

suffered head traumas as a result of the Attack that were previously undiagnosed. Id.

        The officers’ injuries were severe and sustained over time. Id. ¶ 455. Months after the

Attack, some officers remained on leave as a result of the trauma they suffered at the Defendants’

hands. Id. The District incurred significant costs related to the provision of emergency and other

medical care, including ongoing mental health care, that MPD officers required as a result of

Defendants’ actions. Id. ¶ 458. Indeed, according to the District’s preliminary estimates, the MPD

incurred millions of dollars in costs during the week of January 6 alone. Id. ¶ 459.

        F.       Insurrectionists, Including Defendants, are Criminally Indicted and Some
                 Plead Guilty

        Each of the named Individual Defendants has been criminally charged for their actions

related to the January 6 Attack, and several have pleaded guilty. See Am. Compl. ¶¶ 13-49.

Sixteen of these defendants, including moving Defendants K. Meggs, Harrelson, Minuta, Ulrich,

Tarrio and Biggs, were charged with, inter alia, seditious conspiracy—a conspiracy to overthrow,

put down, or destroy by force the Government of the United States or to prevent, hinder or delay

the execution of any law of the United States. 3 See id. ¶¶ 14, 33, 38-39, 44, 90; Third Superseding

Indictment, United States v. Nordean, No. 21-cr-175 (D.D.C. 2021), ECF No. 380. 4 Moreover, in

connection with their plea deals across the various criminal cases arising from the Attack, certain


3
    The other Defendants charged with seditious conspiracy are Rhodes, Watkins, James, Hackett, Moerschel,
    Caldwell, Vallejo, Nordean, Pezzola, and Rehl. United States v. Rhodes, III, No. 22-cr-00015 (D.D.C. 2022),
    ECF No. 167. Defendants James and Ulrich have already pleaded guilty to seditious conspiracy. Id., ECF Nos.
    60, 117.

4
    These Defendants were charged in United States v. Nordean before the Amended Complaint was filed on April
    1, 2022, as alleged therein. See Am. Compl. ¶¶ 14, 33, 38-39, 44. The seditious conspiracy charges were added
    in a superseding indictment after the Amended Complaint was filed. See Nordean, No. 21-cr-175, ECF No. 380
    (June 6, 2022).



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Defendants have admitted to, among other things: seditious conspiracy (Am. Compl. ¶¶ 26, 92

(James); United States v. Rhodes, No. 22-cr-00015 (D.D.C. 2022), ECF No. 117 (Ulrich));

conspiring to unlawfully enter the Capitol to interfere with the Certification of the Electoral

College vote (Am. Compl. ¶¶ 22, 72, 311, 380 (Greene); ¶¶ 49, 168, 359 (Young admitted to

forcibly entering the Capitol and conspiring to thwart the election Certification)); armed trespass

of the Capitol (id. ¶¶ 41, 88 (Schaffer)); and obstruction of an official proceeding of Congress (id.

¶¶ 88, 92 (Schaffer, James)).

                                            ARGUMENT

I.     Legal Standards

       To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(1) “plaintiffs bears the burden

of establishing that the Court has subject-matter jurisdiction over their claims.” Ferrer v.

CareFirst, Inc., 265 F. Supp. 3d 50, 53 (D.D.C. 2017) (citing Arpaio v. Obama, 797 F.3d 11, 19

(D.C. Cir. 2015)). However, a court “must accept the well-pleaded allegations of the complaint as

true and draw all inferences in favor of the plaintiff.” Id. Standing is a jurisdictional matter and

thus a motion to dismiss for want of standing is brought pursuant to Rule 12(b)(1). Id. at 52.

Establishing standing at the pleadings stage is a “low bar” that requires only that a plaintiff “‘state

a plausible claim’ that each of the standing elements is present.” Attias v. Carefirst, Inc., 865 F.3d

620, 625 (D.C. Cir. 2017) (citation omitted). “[G]eneral factual allegations of injury resulting

from the defendant[s’] conduct” are considered sufficient to clear this bar. Magruder v. Cap. One,

Nat’l Ass’n, 540 F. Supp. 3d 1, 8-9 (D.D.C. 2021).

       To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a complaint need only

“contain sufficient factual matter, [if] accepted as true, to ‘state a claim to relief that is plausible

on its face.”’ Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). In evaluating a motion to dismiss, the Court must “treat the complaint’s


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factual allegations as true and must grant [plaintiff] the benefit of all inferences that can be derived

from the facts alleged.” Peavey v. United States, 128 F. Supp. 3d 85, 89 (D.D.C. 2015) (quoting

Atherton v. D.C. Office of Mayor, 567 F.3d 672, 681 (D.C. Cir. 2009)). The Federal Rules of Civil

Procedure “do not require ‘detailed factual allegations’ for a claim to survive a motion to dismiss,”

Banneker Ventures, LLC v. Graham, 798 F.3d 1119, 1129 (D.C. Cir. 2015) (quoting Iqbal, 556

U.S. at 678), but rather “a short and plain statement of the claim showing that the pleader is entitled

to relief[.]” Fed. R. Civ. P. 8(a)(2).

II.     The District Has Standing to Pursue Its Claims.

        Defendants argue that the District does not have standing to pursue its claims—and

therefore is not a proper plaintiff—both because it does not meet the constitutional standing

requirements under Article III of the U.S. Constitution and because it does not have “statutory

standing” under Sections 1985 and 1986 (i.e., Sections 1985 and 1986 do not encompass the

District’s claims). These arguments are without merit.

        A.      The District Has Article III Standing to Assert Its Claims.

        Article III of the Constitution limits the authority of the federal courts to deciding “cases”

and “controversies.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). For a dispute

to constitute a case or controversy under Article III, the plaintiff must have standing—that is, the

plaintiff must have alleged a sufficient interest in the dispute. Attias, 865 F.3d at 625. A plaintiff

can demonstrate such an interest by showing that (1) it has suffered a concrete injury (referred to

as an “injury in fact”); (2) the injury is fairly traceable to the actions of the defendant(s); and (3) it

is likely, as opposed to merely speculative, that the injury will be redressed by judicial relief. Id.;

TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021).

        Certain Defendants argue that the District has not met the minimal burden to establish

standing because its alleged injuries are neither concrete and particularized nor traceable to the


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Defendants’ actions. 5 See Kuehne Mot. to Dismiss (“MTD”) 5-9; Ulrich MTD 8-12; Steele MTD

8-9, 13-15; Meggs MTD 3-9; Klein MTD 11-13. These arguments are without merit. The District

adequately pleaded each of these elements in its Amended Complaint and therefore has Article III

standing.

                  1.       The District Suffered Actual, Concrete and Particularized Injuries.

        The standard articulation of the injury-in-fact requirement is that a plaintiff must show that

it suffered “an invasion of a legally protected interest” that is “concrete and particularized” and

“actual or imminent, not conjectural or hypothetical.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540,

1548 (2016). An injury is “concrete” when it is “‘real’ and not ‘abstract.’” Id. at 1548. An injury

is particularized if there is a “particular individual or class” that has been affected by the challenged

conduct differently from other “members of the public.” United States v. Richardson, 418 U.S.

166, 179 (1974). “The fact that an injury may be suffered by a large number of people does not

of itself make that injury a nonjusticiable generalized grievance.” Spokeo, 136 S. Ct. at 1548, n.7.

        Economic harm is clearly sufficient to establish Article III injury in fact. “[Even a] dollar

of economic harm is still an injury-in-fact for standing purposes.” Carpenters Indus. Council v.

Zinke, 854 F.3d 1, 5 (D.C. Cir. 2017); Danvers Motor Co. v. Ford Motor Co., 432 F.3d 286, 291

(3d Cir. 2005) (Alito, J.) (“While it is difficult to reduce injury-in-fact to a simple formula,

economic injury is one of its paradigmatic forms.”); see also Cottrell v. Alcon Labs., 874 F.3d 154,

163 (3d Cir. 2017) (quoting Danvers, 432 F.3d at 293) (“[W]here a plaintiff alleges financial harm,

standing ‘is often assumed without discussion.”’).


5
    Defendants do not seriously dispute that the District’s injuries can be redressed by the relief that the District seeks.
    For the avoidance of doubt, such argument would also be meritless. It is clear that, in addition to the other relief
    sought, an award of compensatory damages would redress the District’s injuries, which include costs related to
    deployment of MPD officers to the Capitol and medical care and paid medical leave for MPD officers injured
    during the Defendants’ January 6 Attack. See, e.g., Hildebrand v. Vilsack, 102 F. Supp. 3d 318, 322 (D.D.C.
    2015) (injuries can be redressed by judgment in plaintiff’s favor and “award of compensatory damages”).



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       As the D.C. Circuit has noted, physical injury is also the type of “concrete and

particularized injury” that supports Article III standing. Food & Water Watch, Inc. v. Vilsack, 808

F.3d 905, 915 (D.C. Cir. 2015); see also Adinolfe v. United Techs. Corp., 768 F.3d 1161, 1172

(11th Cir. 2014) (physical harm is a “well-established injur[y]-in-fact under federal standing

jurisprudence.”). Emotional harm, too, can constitute a cognizable injury for Article III standing

purposes. See Levine v. Nat’l R.R. Passenger Corp., 80 F. Supp. 3d 29, 40 (D.D.C. 2015)

(plaintiffs can “establish an Article III injury in fact based on emotional harm if that alleged harm

stems from the infringement of some legally protected or judicially cognizable interest that is either

recognized at common law or specifically recognized as such by the Congress”) (internal quotation

marks omitted); see also Sines v. Kessler, 324 F. Supp. 3d 765, 774 (W.D. Va. 2018) (denying a

motion to dismiss a Section 1985 claim where plaintiffs “suffered various emotional injuries”).

       Here, the District has clearly made a showing sufficient to establish that the economic,

physical, and emotional injuries suffered by the District and its MPD officers were concrete,

particularized, and actual—not hypothetical or speculative. As the District alleged in the Amended

Complaint:

               •        The District diverted an unprecedented number of officers to protect
                        members of the public throughout the District, permitting no officers to
                        take leave and imposing 12-hour shifts. Am. Compl. ¶¶ 441-43. More
                        than 1,000 MPD officers were deployed to the Capitol and its immediate
                        surroundings over the course of the day to respond to the insurrection—far
                        more than the District would ordinarily deploy during a non-violent rally
                        or protest. Id. ¶ 457. This unprecedented, expansive deployment imposed
                        significant fiscal costs on the District. Id.

               •        When the Capitol Police called for aid to protect the Capitol and those
                        inside it, the District had to deploy several MPD platoons, and MPD
                        officers were forced to fight for their lives, with at least 65 officers
                        sustaining injuries. Id. ¶¶ 446-50. One officer was beaten so severely that
                        he suffered a concussion and permanent brain injuries and ultimately lost
                        his life to suicide. Id. ¶ 451. Another was electrocuted and beaten
                        unconscious. Id. ¶ 452. Scores of other officers suffered physical injuries,



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                            ranging from shattered bones and spinal discs to lacerations, bruises, and
                            edemas, and many officers also suffered extensive psychological injuries.
                            Id. ¶¶ 453-54. As discussed below, see infra, 24-28, the District has a
                            statutory right to recover costs associated with injuries sustained by its
                            MPD officers during the course of their employment.

                 •          The District incurred significant costs in paying for medical care and
                            treatment for officers injured during the January 6 Attack. The District
                            expects to continue to incur such costs as medical care and treatment for
                            many officers is ongoing. Id. ¶ 458.

                 •          MPD officers were also forced to take leave, some for months, to recover
                            from their injuries. This has continued to impose a cost on the District,
                            which has been deprived of these officers’ valuable services. Id. ¶ 455.

        Nevertheless, Defendants advance two broad arguments for discounting the District’s

injuries.

        First, certain Defendants assert that the District’s alleged harms, which they characterize

as “the costs of deploying D.C. police officers, the costs to treat injured officers, and the costs for

paid leave for injured officers,” do not constitute an injury-in-fact for the purposes of Article III

standing because they amount to mere “lost revenue,” which Defendants claim is not cognizable.

Kuehne MTD 7-8; Ulrich MTD 11-12. 6 That is incorrect. The District does not seek to recover

“lost revenue.” Rather, it alleges—and seeks to recover—direct, concrete expenditures that the

District has already paid, and continues to pay, as a result of the Defendants’ conspiracy.

        Moreover, Defendants have not cited—and the District has not identified—any authority

that supports this argument. Defendants’ heavy reliance on Arias v. DynCorp, 752 F.3d 1011

(D.C. Cir. 2014) is misplaced. In that case, certain provinces of the Republic of Ecuador brought



6
    Defendants miscast their argument that the District’s alleged harms do not constitute an injury in fact as a
    component of their ultimate point that “[t]he District lacks Article III standing under Section 1985(1) because its
    alleged injuries are not traceable to the Defendants.” Kuehne MTD 7 (emphasis added). The inquiry into the
    existence of an injury-in-fact is legally distinct from the inquiry of whether that injury is a likely result from
    Defendants’ challenged conduct. As discussed in detail below, see infra, Section II.A.2, the District has alleged
    an injury that likely resulted from Defendants’ conduct, and thus has Article III standing.



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tort claims for alleged “injuries to health, property, and financial interests” against companies that

had sprayed pesticides over cocaine and heroin farms in Ecuador. Id. at 1013. While the D.C.

Circuit explained that “[l]ost tax revenue is generally not cognizable as an injury-in-fact for

purposes of standing,” id. at 1015 (emphasis added), it expressly confirmed that the provinces’

“direct expenditures on facilities like health centers could theoretically constitute an injury in fact

for standing purposes,” id. at 1016. The D.C. Circuit then held, however, that the provinces failed

to adequately allege that these expenditures were “traceable” to defendant’s conduct because their

complaint did not allege that the defendant was “any kind of cause” of the expenditures. Id. at

1015. As noted, DynCorp bears no comparison to this case, in which the District is not seeking to

recover “lost tax revenue.”

        Second, Defendants erroneously contend that the District’s injuries are not sufficient to

establish an “injury in fact” because they are exclusively “third-party harms” suffered by MPD

officers, and because the District is a corporate entity that cannot suffer the common law torts

alleged. Steele MTD 7-16.

        As an initial matter, the Amended Complaint alleges that the District suffered direct harm

from the January 6 Attack, including the costs of deploying an unprecedented number of MPD

officers to the Capitol on January 6, 2021, the costs of providing care for MPD officers, and the

costs of paid medical leave for MPD officers. These are not “third-party harms.” In any event, to

the extent the District seeks to recover damages resulting from injuries suffered by MPD officers,

it also satisfies Article III.

        “[S]ubrogees, who [the law has] described as ‘equitable assign[ees],’” have long been held

to “ha[ve] standing to assert the injury in fact suffered by the assignor.” Vermont Agency of Nat.

Res. v. U.S. ex rel. Stevens, 529 U.S. 765, 774 (2000) (“We conclude, therefore, that the United




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States’ injury in fact suffices to confer standing on [relator in False Claims context].”); accord

Transamerica Ins. Co. v. South, 125 F.3d 392, 397 (7th Cir. 1997); La Reunion Aerienne v.

Socialist People’s Libyan Arab Jamahiriya, 477 F. Supp. 2d 131, 135 (D.D.C. 2007).

       In this case, the District has a statutory right to pursue Section 1985, Section 1986, and

common law tort claims as a subrogee for its employees’ and medical beneficiaries’ tort claims,

including the injuries inflicted on the MPD officers here. See DC Code §§ 5–602; 4–602. Under

D.C. Code § 5–602, when (i) the District “is authorized or required by law” to provide or pay for

medical treatment of its police officers, or to provide them with “leave of absence with pay” (ii)

under circumstances where the officer’s injury created “a tort liability upon a 3rd person to pay

damages therefor,” then (iii) the District has “a right to recover from said 3rd person the reasonable

value” of the care and wages provided. Section 5–603, in turn, specifies that to enforce this right,

the District may either “[i]ntervene or join in any action or proceeding brought by the injured

[officer],” or “[i]f such action or proceeding is not commenced within 6 months after the 1st day

in which care and treatment is furnished by the District of Columbia in connection with the injury

. . . , institute and prosecute legal proceedings . . . against the 3rd person who is liable for the

injury.”

       Here, the District alleges that it “incurred costs related to the emergency and other medical

care provided to MPD officers who were injured as a result of the Defendants’ actions,” ¶ 458, and

that it suffered “costs for paid leave for MPD officers who could not work as a result of their

injuries,” ¶ 467. The District incurred those costs under circumstances for which the Defendants

are liable in tort, as set forth infra at Section III.C. And no injured MPD officer initiated a lawsuit

within six months after the District first furnished care and treatment—which it did on an




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“emergency” basis immediately following the January 6 Attack. 7 Am. Compl. ¶ 458. The District

is thus authorized under § 5–603 to “prosecute legal proceedings” against the tortfeasors. D.C.

Code § 5–603.

       D.C. Code § 4–602 likewise provides that once the District begins providing such

healthcare assistance, “it shall become subrogated to any right or claim that the beneficiary has

against a third party for the care and treatment it has undertaken to provide or pay for.” § 4–602(b).

Section 4–602 also affords the District “an independent, direct cause of action” against a third

party to recover the cost of “health-care assistance” provided to a “beneficiary who has suffered

an injury . . . under circumstances creating liability in a third party.” § 4–602(a); see § 4–604(a)(3)

(“In enforcing its right to reimbursement, the District may . . . [i]nstitute and prosecute a

proceeding either alone . . . or in conjunction with the beneficiary.”).

       Defendant Steele concedes that the District “has rights of ‘legal subrogation’ under § 5-

602,” but misreads District of Columbia v. Beretta, U.S.A., Corp., 872 A.2d 633 (D.C. 2005) (en

banc), to mean that the District may not maintain this action unless all of its subrogors are joined

as plaintiffs. 8 See Steele MTD 16.

       In Beretta, the District and several individuals sued manufacturers and distributors of

firearms in Superior Court to recover certain medical costs incurred because of gun violence. See

Beretta, 872 A.2d at 637, 653. On appeal, the D.C. Court of Appeals held that D.C.’s Assault


7
    Two actions were brought by MPD officers or their estates for injuries related to the January 6 Attack; both were
    initiated more than six months after the District first furnished emergency care and treatment. See Tabron v.
    Trump, No. 22-cv-11 (D.D.C.) (Complaint filed January 4, 2022); Smith v. Kaufman, No. 21-cv-2170 (D.D.C.)
    (Complaint filed August 13, 2021).

8
    Steele does not explain why such a requirement would apply, nor how it would square with Rule 17(a), which
    requires that the action “be prosecuted in the name of the real party in interest.” See United States v. Aetna Cas.
    & Sur. Co., 338 U.S. 366, 380–81 (1949) (“[O]f course an insurer-subrogee, who has substantive equitable
    rights, qualifies as [the real party in interest under Rule 17(a)]. If the subrogee has paid an entire loss suffered
    by the insured, it is the only real party in interest and must sue in its own name.”).



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Weapon Manufacturing Strict Liability Act of 1990 provided a right of action only to individuals,

but not to the District itself. Id. at 652-53. The court therefore dismissed the District’s “direct”

claims, but permitted the District to pursue claims based on the subrogation statutes identified

above. Id. Of the nine individual plaintiffs involved in the case, the court determined that the

District had only pleaded payment of health care costs and Medicaid expenses (and was therefore

only legally subrogated) with respect to two. Id. at 652. Beretta thus confirms the utility of the

subrogation statutes at issue, and simply requires that the District plead payment of health care

costs, costs of treatment, leave of absence costs or similar such costs in order to pursue claims as

a subrogee. Here, the District has done so. See e.g., Am. Compl. ¶¶ 458, 467.

       Defendant Steele focuses on a single sentence from the introduction of Beretta, where the

court previewed a later substantive discussion of the issue, summarizing that the District could

pursue its claims “to the extent—but only the extent—that it seeks subrogated damages as to

named individual plaintiffs for whom it has incurred medical expenses.” 872 A.2d at 637. In

context, the court was simply distinguishing between the two “named individual plaintiffs” for

whom the District had a subrogation right, and the seven other “named individual plaintiffs” for

whom it did not. There were no “unnamed” plaintiffs in the suit, and the court never suggested—

let alone decided—that the District would be required to plead the names of individual subrogors.

       To the extent that Defendant Steele suggests that the absence of officer names in the

Amended Complaint fails to provide adequate notice, that argument fails as well. Here, the District

seeks to recover the cost of treating the limited universe of MPD officers who were injured because

of the January 6 Attack, and of affording paid leave to officers whose injuries from the January 6

Attack prevented them from working. The scope of the District’s subrogated claims are therefore

limited to the discrete set of officers involved in responding to the January 6 Attack—i.e., the




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approximately 850 officers at the Capitol, and approximately 250 additional officers in the area to

support the response and aftermath (¶ 457)—and to injuries incurred as a result of one specific

incident: the January 6 Attack. The Amended Complaint further specifies that by the time of

filing, at least 65 officers had reported sustaining physical injuries as a result of the January 6

Attack, and provides details regarding several of their injuries. ¶¶ 450–55.

         Even if there were a requirement to identify particular subrogors with specificity, which

there is not for the reasons stated above, the District has still stated a claim because it identified

injured MPD officers by initials and description. 9 The Amended Complaint identifies “MPD

Officer J.M.,” who was yelled at, grabbed, and pulled toward the mob. Am. Compl. ¶ 376. It

further specifies that at least 65 MPD officers were injured as a direct result of the January 6

Attack, id. ¶ 450, including (i) one officer who was beaten in the face and hit with a metal pole,

sustained a concussion and permanent head and neck injuries, and later died by suicide, id. ¶ 451;

(ii) another officer who was electrocuted multiple times and beaten unconscious while screaming

for help, id. ¶ 452; and (iii) officers who sustained “bruised arms and legs, swollen ankles and

wrists, and lacerations,” as well as “irritated eyes and lungs from sprayed chemicals, cracked ribs,

shattered spinal discs, wounds from being hit with a metal fence stake, and injuries from head

blows from various objects, including metal poles ripped from inauguration-related scaffolding

and an American flagpole,” id. ¶ 453. Thus, even if the District had to plead facts identifying

specific subrogors, it has done so. 10


9
     The Amended Complaint also includes photographic evidence of particular MPD officers being injured. For
     example, Figure 32 of the Amended Complaint shows an MPD officer who was beaten with sticks and crutches,
     including by one person wielding an American flag; that MPD officer later testified before the House Select
     Committee. Id. ¶ 396 & Fig. 32. Figure 8 of the Amended Complaint depicts MPD officers clashing with a
     crowd outside the Capitol. Id. ¶ 307 & Fig. 8.
10
     Moreover, even if the Court were to determine that the District must identify its subrogors with greater
     particularity, the District should have the opportunity to amend its complaint to do so as discovery progresses.



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         The District has adequately pleaded an injury in fact with respect to its Section 1985, 1986,

and common law claims for injuries inflicted on MPD officers. 11

                   2.       The District’s Harms Are Fairly Traceable to the Conspiracy.

         To demonstrate traceability, a plaintiff must show a “causal connection” between its injury

and the challenged conduct of the defendants. Lujan, 504 U.S. at 560. At the pleadings stage, a

plaintiff need only state a “plausible claim” that its injury is “fairly traceable to the actions of the

defendant[s].” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (D.C. Cir. 2015) (quoting

Humane Soc’y of the U.S. v. Vilsack, 797 F.3d 4, 8 (D.C. Cir. 2015)). Article III does not require

that a defendant be the “most immediate cause, or even a proximate cause,” of the plaintiff’s injury.

Attias, 865 F.3d at 629; see Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118,

134 n.6 (2014) (explaining that a plaintiff does not need to show proximate causation to establish

traceability).

         Courts assessing standing to assert conspiracy claims at the motion to dismiss stage must

assume that the plaintiff adequately alleged a conspiracy. Thompson, 2022 WL 503384, at *10.


     See Beretta, 872 A.2d at 654 n.12. (“[T]he District is free to move to amend the complaint in conformity with the
     rules to include other beneficiaries with claims under the SLA whose identity has come to light during these
     proceedings.”); see also Fed. R. Civ. P. 17(a)(3) (“The court may not dismiss an action for failure to prosecute in
     the name of the real party in interest until, after an objection, a reasonable time has been allowed for the real party
     in interest to ratify, join, or be substituted into the action. After ratification, joinder, or substitution, the action
     proceeds as if it had been originally commenced by the real party in interest.”).

11
     To the extent that some Defendants argue that the District lacks standing to pursue injunctive and declaratory
     relief, see Steele MTD 21-22; Meggs MTD 7, those arguments fail as well. To pursue prospective relief, a
     plaintiff must allege only “that [it] is likely to suffer a future injury.” Coleman v. Drug Enf’t Admin., 134 F. Supp.
     3d 294, 306 (D.D.C. 2015); see Fair Emp. Council of Greater Washington, Inc. v. BMC Mktg. Corp., 28 F.3d
     1268, 1272 (D.C. Cir. 1994). Here, the District has alleged that the conspiracy was not simply a momentary
     occurrence, but was ongoing even after the Attack, as Defendants continued to plot to prevent President Biden,
     Vice President Harris and other federal officials from exercising the duties of their offices. See Am. Compl. ¶¶
     416-40. Indeed, the night after the attack, Defendant K. Meggs wrote to his coconspirators, “[w]e aren’t
     quitting!! We are reloading!!” Id. at ¶ 425. Moreover, the very nature of Defendants’ conspiracy—an attempt
     to violently undo the settled results of an election that was completed months earlier—reflects a refusal to
     acknowledge or concede, and an ongoing willingness to violently contest, long-settled results. It is fair to infer
     from this conduct that, absent action by this Court (and/or effective criminal prosecution), Defendants will
     continue to pursue their conspiracy.



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Accordingly, in such circumstances, a plaintiff must only have pleaded an injury that is fairly

traceable to the alleged conspiracy, not to each and every individual coconspirator’s conduct. See

Pierce v. Yale Univ., 2019 WL 162029, at *3 (D.D.C. Jan. 10, 2019) (to establish standing at the

pleadings stage, a plaintiff must plausibly allege that its injury is fairly traceable to the conspiracy),

aff’d on other grounds, 788 F. App’x 1 (D.C. Cir. 2019), cert. denied, 141 S. Ct. 362 (2020). 12 In

other words, it is enough to make “the general claim that [the Defendants] were engaged in a

conspiracy” that resulted in injuries to the plaintiff. Freedom Watch, Inc. v. Google Inc., 816 F.

App’x 497, 499 (D.C. Cir. 2020).

         This Court’s recent decision in Thompson is particularly instructive. In Thompson, police

officers and legislators injured in the Attack alleged that President Trump and others conspired to

forcibly prevent members of Congress from certifying the results of the Electoral College, and that

those efforts culminated in the Attack. Thompson, 2022 WL 503384, at *2. Assuming, as it must

at the motion to dismiss stage, that Trump so conspired, this Court held it was “apparent” that the

plaintiffs’ injuries were “fairly traceable” to the conspiracy and therefore to Trump, despite the

fact that Trump himself was not alleged to have stormed the Capitol or inflicted direct physical

injury on anyone. Id. at *10.

         Here, it is clear that the District’s injuries are fairly traceable to the Defendants’ conspiracy,

and therefore to the Individual Defendants as coconspirators. The Amended Complaint pleads

that, as part of their conspiracy, the Defendants planned the Attack, armed themselves, recruited

others to join them, and ultimately carried out a coordinated act of terrorism at the Capitol. Id.



12
     Defendants’ arguments as to traceability might be better understood as arguments about substantive conspiracy
     liability—not standing. Fundamental to the law of conspiracy is the proposition that “[e]ach Plaintiff need not be
     able to point to an injury incurred from each Defendant.” Sines v. Kessler, 324 F. Supp. 3d 765, 773 (W.D. Va.
     2018). Rather, when all Defendants were part of the conspiracy, “Plaintiffs may hold each Defendant liable for
     the reasonably foreseeable acts of their coconspirators.” Id.; see infra, Part III.A.



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¶¶ 107-29 (following President Trump’s electoral loss, Defendants trumpeted plans to use violence

to prevent the lawful transfer of presidential power), ¶¶ 140-59 (Proud Boys and Oath Keepers

worked together to plan the Attack and encouraged others to participate), ¶¶ 160-69 (Defendants

coordinated disguises and created secret channels for communication), ¶¶ 170-83 (Defendants

collected weapons, ammunition, and tactical gear), ¶¶ 184-203 (Defendants coordinated travel

plans), ¶¶ 204-61 (as January 6 approached, Defendants called for violence, encouraged thousands

of others to join the Attack, descended on the District, and issued instructions), ¶ 388 (thousands

of people stormed the Capitol). When the mob congregated outside the Capitol, the Defendants

provided tactical direction to their coconspirators and violently clashed with Capitol Police and

MPD officers, ultimately overwhelming them. Id. ¶¶ 305-11, 314-15, 318-19, 323. The enormous

mob and the violence it inflicted necessitated the unprecedented deployment of MPD officers to

the Capitol. Id. ¶¶ 441-49, 457.

       The Amended Complaint further pleads that, as part of their conspiracy, the Defendants

incited, encouraged, and enabled the mob. For example, the Defendants “provided tactical

direction” outside the Capitol, id. ¶ 305; “positioned themselves at or near the front of the crowd”

that stormed Capitol grounds, id. ¶¶ 311, 331; “led the charge at the front of the mob,” id. ¶ 314;

“instigated” violence against police officers, id. ¶ 323; broke Capitol windows and forced open

doors, id. ¶¶ 333-35; coordinated logistical details in an effort to weaken the building’s defense,

id. ¶¶ 340, 362; and urged the mob not to “leave” the Capitol and to “[k]eep fucking going,” id.

¶¶ 351, 370. The Defendants and their coconspirators directly took credit for these actions. For

example, Proud Boys Chairman Henry “Enrique” Tarrio boasted, “[w]e did this.” Id. ¶ 353; see

also id. ¶ 364 (Caldwell posted on social media, “[w]e are surging forward. Doors breached[.]”).




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         The Amended Complaint further pleads that the Defendants and their coconspirators

directly assaulted MPD and Capitol Police officers, including by pushing, kicking, stampeding,

beating, throwing objects, and deploying chemical irritants. Id. ¶¶ 307, 315, 323-24, 356, 358,

369, 373-76, 393-97, 400-02. The MPD officers’ resulting physical and psychological injuries—

inflicted directly by the Defendants and their coconspirators—caused the District to incur direct

costs for medical care and the loss of these officers’ valuable services. Id. ¶¶ 446-59.

         Accordingly, there can be no question that the District’s injuries are fairly traceable to the

Defendants and their conspiracy.

         Defendants’ arguments to the contrary are unavailing.

         First, certain Defendants assert—in conclusory fashion—that because “thousands” of other

people they presume were not coconspirators participated in the Attack, the District “would have

incurred most or all of these costs regardless of Defendants’ conduct.” E.g., Kuehne MTD 8. 13

This assertion conflates Article III traceability with the higher but-for causation standard. See

Flaherty v. Bryson, 850 F. Supp. 2d 38, 50 (D.D.C. 2012) (“Plaintiffs need demonstrate neither

proximate causation nor but-for causation to establish traceability.”). To satisfy Article III, the

District need only allege that its injuries are “fairly traceable” to the Defendants’ alleged actions

as coconspirators. That standard is clearly met here.

         Similarly, certain Defendants invoke Arias v. DynCorp, 752 F.3d 1011 (D.C. Cir. 2014),

for the proposition that the presence of “other potential causes” of a plaintiff’s injury forecloses

Article III standing. E.g., Kuehne MTD 8-9. That is incorrect, and DynCorp is inapposite. The



13
     To the extent that Defendants attempt to raise a factual issue as to whether their conspiracy—as opposed to some
     purportedly independent actions of the mob—caused any of the District’s injuries, that factual issue cannot
     properly be resolved on motions to dismiss. In evaluating the motions to dismiss, the Court must treat the factual
     allegations in the Amended Complaint as true, drawing all reasonable inferences in the District’s favor. See
     Peavey, 128 F. Supp. 3d at 89.



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DynCorp plaintiffs alleged that they were injured because they needed to build health centers to

address high infant mortality and several prevalent diseases, see supra, 23, but they failed to allege

“that these medical issues [were] a result of the [defendants’] spraying [of pesticides].” Id. at 1015.

The court reasoned that although “[a] defendant in a tort suit can, of course, be liable without being

the sole cause of a plaintiff’s injury,” the plaintiffs did not demonstrate that the defendant “was

any kind of cause of their alleged financial injuries.” Id. (emphasis added). Plaintiffs here have

sufficiently plead that the Defendants’ conspiracy inflicted the stated harm. And contrary to

DynCorp, the actions of any non-Defendant individuals could only have supplemented the injury

caused by Defendants’ conspiracy.

         B.       The District Has Statutory Standing to Assert Its Claims Under
                  42 U.S.C. §§ 1985(1) And 1986.

         Certain Defendants also argue that the District does not have standing to bring claims under

Sections 1985 and 1986 “because only federal officers and federal office holders have standing to

assert a claim” under those Sections. Kuehne MTD 6; see Steele MTD 11 (“The only plaintiffs

with statutory standing under § 1985 are federal officers.”). 14 The Defendants’ argument conflates

Article III standing with “statutory” standing, or the question of whether the statute provides the

District with a cause of action. Moreover, both Sections 1985(1) and 1986 clearly include the

District within the class of those authorized to sue.

         To determine whether a plaintiff “has a cause of action under” a given statute, courts ask

whether the plaintiff “falls within the class of plaintiffs whom Congress has authorized to sue

under” that statute. Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 126

(2014). To ascertain “[w]hether a plaintiff comes within the zone of interests,” a court must


14
     “Because statutory standing is not jurisdictional,” Defendants who have not raised this argument have forfeited
     it. Thompson, 2022 WL 503384, at *24 n.18.



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“determine, using traditional tools of statutory interpretation, whether a legislatively conferred

cause of action encompasses a particular plaintiff’s claim.” Lexmark Int’l, 572 U.S. at 127. The

District satisfies this standard because its “claims of injury . . . are, at the least, ‘arguably within

the zone of interests’ that the [statute] protects.” Bank of Am. Corp. v. City of Miami, Fla., 137 S.

Ct. 1296, 1303 (2017) (quoting Ass’n of Data Processing Serv. Organizations, Inc. v. Camp, 397

U.S. 150, 153 (1970)) (emphasis in original); see also Lexmark, 572 U.S. at 130 (explaining that

the Supreme Court often “include[s] the word ‘arguably’ in th[is] test to indicate that the benefit

of any doubt goes to the plaintiff[.]’”) (citation omitted).

         Traditional tools of statutory interpretation—the statute’s text, purpose, and legislative

history—demonstrate that Section 1985 broadly authorizes any person or entity injured by those

engaged in a Section 1985(1) conspiracy, not just “federal officers or office holders,” to assert a

claim.

         The plain language of Section 1985(3) provides that a “party so injured” may pursue

damages if it is “injured or deprived” by virtue of “any act” committed by a conspirator “in

furtherance of the object of [a] conspiracy” that violates Section 1985(1). 42 U.S.C. § 1985(3).

Nothing about the statute requires “party so injured” to mean “federal office holders.”

         The District easily qualifies as a “party so injured.” Defendants conspired in violation of

Section 1985(1) “to prevent, by force, intimidation, or threat,” President-elect Biden and Vice

President-elect Harris “from accepting or holding an[] office, trust, or place of confidence under

the United States,” and likewise to prevent Vice President Pence and the Members of Congress

from “discharging [their] duties” in connection with receiving the certified votes of electors in the

2020 election. See id.




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         The District suffered injuries as a result of that conspiracy. The District incurred and

continues to incur costs in its diversion of unprecedented numbers of police officers to the Capitol,

rendering of medical treatment, and compensation of officers for paid leave to address their

emotional and physical injuries incurred from Defendants’ attack. Given these injuries, there can

be no doubt that the District was a “party” who was “injured or deprived” by virtue of “an[] act”

committed by a conspirator “in furtherance of the object of [a] conspiracy” that violates Section

1985(1). 42 U.S.C. § 1985. Accordingly, based on the statute’s plain text, the District is within

the zone of interests and may assert a claim under Section 1985.

         Indeed, this Court so held in Thompson. In that case, as here, certain of the plaintiffs

alleged a Section 1986 claim based on the theory that the Defendants had engaged in a Section

1985 conspiracy to prevent President-elect Biden and Vice President-elect Harris from accepting

or holding office. Thompson, 2022 WL 503384, at *28. The claims were not dismissed because

“even if the [plaintiffs] are not ‘covered federal officials,’ President-elect Biden and Vice

President-elect Harris are, and a conspiracy directed at preventing them from accepting or holding

office” states a Section 1985 claim. Id. The Court went on to state that, under this theory, the

plaintiffs “would be able to seek damages as ‘person[s]’ injured by that alleged conspiracy.” Id.

(alteration in original) (quoting 42 U.S.C. § 1985(3)). 15

         The statute’s remedial and protective purpose accord with this reading of the text. Section

1985 is a Reconstruction-Era statute designed to preserve civil rights and ensure the orderly


15
     The Thompson decision is consistent with the Third Circuit’s decision in Novotny v. Great, an analogous case
     under Section 1985(3). In Novotny, a male employee alleged that officials at his company had conspired to
     deprive female employees of equal employment opportunities, that he had attempted to intervene, and that he had
     been discharged as a result. He filed suit under Section 1985(3), and the Third Circuit held that he stated a claim—
     even though the alleged conspiracy was designed to deprive women of equal rights—“because an action under
     § 1985(3) need not be predicated on a conspiracy involving invidious animus directed against the plaintiff
     personally.” Novotny v. Great Am. Fed. Sav. & Loan Ass’n, 584 F.2d 1235, 1245 (3d Cir. 1978), vacated on
     other grounds, 442 U.S. 366 (1979).



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functioning of the federal government. See Stern v. U.S. Gypsum, 547 F.2d 1329, 1335 (7th Cir.

977) (noting that Section 1985 is not “narrow and limited” to addressing the atrocities in southern

states in 1871; rather, “[t]he outrageous conditions there at that time were, no doubt, what induced

Congress to act, but it chose to do so with a statute cast in general language of broad applicability

and unlimited duration”). The Supreme Court has recognized that Reconstruction-Era civil rights

statutes such as Section 1985 “sweep as broad as [their] language.” United States v. Price, 383

U.S. 787, 801 (1966). In evaluating a companion statute, Section 1983, the Supreme Court held

that Congress intended to protect not only victims of race-based animus, but also their

“supporters.” See United Bhd. of Carpenters & Joiners of Am., Local 610, AFL–CIO v. Scott, 463

U.S. 825, 836 (1983); see also Kessler, 324 F. Supp. 3d at 780.

       Legislative history further demonstrates that Congress meant what it said in the statutory

text: anyone harmed by a 1985(1) conspiracy may sue, not only those whose rights the conspirators

directly sought to deprive. As Senator Edwards succinctly stated, “This section gives a civil action

to anybody who shall be injured by the conspiracy.” Congressional Globe, 42d Cong., 1st Sess.,

at 568 (1871). Members of Congress contemplated that the statute would afford a cause of action

to white people who were injured by those conspiring with white supremacists during

Reconstruction. See id. at 192-93, 517 (describing harms inflicted by the KKK on individuals who

were apparently white, including hanging a man who sought to educate Black Americans, shooting

at and banishing a man who taught Black children to read, and the near-fatal whipping of a minister

who preached to the Black community). By the same token, the statute affords a cause of action

to the District for the injuries it suffered in responding to the Attack on the Capitol on January 6.

See supra, Section A (describing injuries suffered by the District).




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        Accordingly, the District need not plead that it is a federal official whose duties Defendants

sought to disrupt; rather, it is sufficient to plead that the conspirators sought to prevent certain

federal officials from carrying out their duties and that the District was among those harmed by

this unlawful conspiracy. The Amended Complaint plainly fulfills that requirement. 16

        The cases Defendants rely on are not to the contrary. 17 Defendants seek to use these cases

to elide two distinct questions: first, whether the alleged Section 1985(1) conspiracy was intended

to prevent the discharge of official duties by federal officials; and second, whether the plaintiff

must himself be a federal officer to recover for injuries under this Section. None of the Defendants’

cited cases dispute that the first question requires the Court to consider whether those targeted by

the conspiracy are federal officials. And, for the most part, the Defendants’ cited cases stand for

only that uncontroversial proposition. See, e.g., Love v. Bolinger, 927 F. Supp. 1131, 1139-40 &

n.14 (S.D. Ind. 1996) (dismissing section 1985(1) claim because officials whose duties were

allegedly interfered with were state, not federal, officials).

        Of course, in some cases cited by Defendants, the plaintiff alleged that he was the one who

was allegedly targeted by a Section 1985(1) conspiracy, meaning that the aforementioned two

questions collapse into a single one: is the plaintiff a federal official? If so, then he has alleged a


16
     Even if the statute were to be given a narrower reading than its plain text, there can be no doubt that the District
     is among those Congress sought to protect. The District’s employees were not mere interlopers or bystanders
     on January 6; they were summoned by the federal government to protect a sitting session of Congress. The
     federal government and the District had previously entered into a cooperative agreement whereby the MPD
     could aid the Capitol Police, and vice-versa, when needed. See generally Cooperative Agreements Between
     Federal Agencies and Metropolitan Police Department, D.C. Code § 5-133.17, 111 Stat. 782, Pub. L. 105-33, §
     11712(a)-(d) (Aug. 5, 1997), as amended, 115 Stat. 2099, Pub. L. 107-113, § 2 (Jan. 8, 2002). On January 6,
     pursuant to that agreement, the federal government called for aid, and the District promptly responded, to ensure
     that federal officials could peaceably discharge their duties. Am. Compl. ¶¶ 445-48. And ensuring that federal
     officials can peaceably discharge their duties is at the heart of Section 1985(1).

17
     The only District of Columbia authority any of these defendants cite for their “statutory standing” arguments,
     Neely v. Blumenthal, is not a Section 1985 case at all. 458 F. Supp. 945, 950 (D.D.C. 1978). Neely is about
     remedies for employment discrimination claims brought by federal employees. It did not, as Steele claims,
     “limit[] [Section 1985(1) plaintiffs to federal officials.” ECF No. 109-1, at 12 n.3.



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conspiracy that targets a federal official and that the conspiracy injured him. In these cases, when

the resolution of a claim did not require distinguishing between these two questions, courts have

sometimes used loose language conflating them. For example, in Whitehorn v. F.C.C., 235 F.

Supp. 2d 1092, 1100–01 (D. Nev. 2002), the court started its Section 1985 analysis by noting that

it was unable to discern under which subsection the plaintiff sought to assert a claim. With minimal

analysis, it dismissed the Section 1985(1) claim, “if any” had been brought, reasoning that the

plaintiff would not have “standing” to assert any such claim because he was not a member of the

“protected class.” Id.; see also Rossy v. Puerto Rico Police Dep’t, Case Civ. No. 08-2167, 2009

WL 1140174, at *4 (D.P.R. Apr. 24, 2009) (dismissing frivolous Section 1985(1) claim brought

by Puerto Rico Police Department officer in an employment discrimination case against his

employer because “plaintiff is not employed by the federal government, and has not alleged that

he is authorized to perform any official federal duties”). But these cases do not hold that, when a

plaintiff alleges that it was harmed by a Section 1985(1) conspiracy that sought to prevent the

discharge of someone else’s official duties, the court should collapse these two inquiries and reject

a claim by anyone other than a federal official. 18

        Ultimately, Defendants’ argument boils down to a false equivalency between those

targeted by the conspiracy and those injured by it. But when those questions are considered

separately—as they must be—the District’s claims here are plainly sufficient.




18
     Against the weight of authority, Defendants identify only a single non-precedential district court opinion from
     Michigan that arguably adopts a contrary position. See Odish v. Apple, Inc., No. 15-CV-11955, 2015 WL
     6507427, at *11 (E.D. Mich. Oct. 28, 2015) (“[A] plaintiff must be an individual who holds ‘any office, trust, or
     place of confidence under the United States’ to bring a claim under § 1985(1) regarding impediments to her
     ability to carry out her duties.”). That court offered very little reasoning for this conclusion. Its barebones
     opinion did not engage with this issue; it quickly rejected it. This is unsurprising given that the claim was part
     of the ninth lawsuit filed by a serial litigant on the same general topic, containing myriad claims, and given that
     the Section 1985 argument was frivolous on several grounds.



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        For the same reasons, the District has a cause of action under Section 1986, which provides

that

        [e]very person who, having knowledge that any of the wrongs conspired to be done,
        and mentioned in [§ 1985], are about to be committed, and having power to prevent
        or aid in preventing the commission of the same, neglects or refuses to do so, if
        such wrongful act be committed, shall be liable to the party injured.

42 U.S.C. § 1986. Defendants argue that the District has no cause of action under Section 1986

because it has no cause of action under Section 1985. Kuehne MTD 9; Klein MTD 9; Steele MTD

3-4.   Because this argument is entirely premised on the same incorrect understanding of

Section 1985, it also fails.

III.    The District Has Adequately Pleaded Each of Its Claims.

        A.      The District Has Stated Claims Under Section 1985(1).

        Defendants raise several additional challenges to the adequacy of the District’s Section

1985(1) claims: Each moving Defendant argues that the District failed to adequately allege their

involvement in the conspiracy. See Kuehne MTD 3-5; Steele MTD 17; Meggs MTD 11-12; Klein

MTD 15-16; Ulrich MTD 10-12; see Harrelson Notice to Join Meggs MTD (ECF No. 114)

(“Harrelson Notice”). Defendants C. Meggs and K. Meggs (and by joinder, Harrelson) also argue

that the District failed to allege facts satisfying a purported “state action” requirement. Meggs

MTD 12-13; Harrelson Notice. Defendants Klein, Minuta, and Pepe argue that Section 1985(1)

claims should be held to a “heightened pleading” standard. Klein MTD 15-16. And Defendants

Minuta, Pepe, and Klein further argue that the District did not adequately plead causation between

the conspiracy and the District’s injuries. See Klein MTD 14. All of those arguments lack merit,

and many have already been rejected by this Court in related cases.




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               1.      The District Plausibly Alleged Defendants’ Involvement in the
                       Conspiracy.

       Moving Defendants incorrectly argue that the District failed to adequately allege their

involvement in the conspiracy that resulted in the January 6 Attack. See Kuehne MTD 3-5; Steele

MTD 17; Meggs MTD 11-12; Klein MTD 15-16; Ulrich MTD 10-12; Harrelson Notice.

       A civil conspiracy is “an agreement between two or more people to participate in an

unlawful act or a lawful act in an unlawful manner.” Thompson, 2022 WL 503384, at *30 (citation

omitted). To violate Section 1985(1), the agreement must target “a person who occupies ‘any

office, trust, or place of confidence under the United States’ or is ‘any officer of the United

States.’” Id. at *25 (quoting 42 U.S.C. § 1985(1)). Such an agreement can be “express or tacit”;

all that is required is that participants “came to a mutual understanding to try to accomplish a

common and unlawful plan.” Id. at *30 (citation omitted); see Halberstam v. Welch, 705 F.2d

472, 476 (D.C. Cir. 1983). Although all conspirators must “share in the general conspiratorial

objective,” they “need not know all the details of the plan or even possess the same motives,” and

they “need not know the identities of other coconspirators.” Thompson, 2022 WL 503384, at *30.

For a civil conspiracy claim to be actionable, there must be “an overt act in furtherance of the

conspiracy that results in injury.” Id.

       This Court’s decision in Thompson is, once again, instructive. In that case, this Court

found, based on essentially the same facts alleged in the Amended Complaint, that the plaintiffs

had sufficiently pled a Section 1985 conspiracy that included, among others, “the Proud Boys, the

Oath Keepers, Tarrio, and others who entered the Capitol on January 6th with the intent to disrupt

the Certification of the Electoral College vote through force, intimidation, or threats.” Id. at *33.

       Regarding the Oath Keepers, this Court stated that the various statements published online

by Oath Keepers leadership (including moving Defendant K. Meggs) were “direct evidence of a



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civil conspiracy.” Id. at *38; see Am. Compl. ¶ 141 & Fig. 2. It further stated that the complaints

“easily” established a Section 1985 claim against the Oath Keepers by detailing the Oath Keepers’

and Proud Boys’ “preparations for January 6th,” and describing that “members from each group

forcibly entered the Capitol building intent on disrupting the Certification.” Thompson, 2022 WL

503384, at *38. Regarding moving Defendant Tarrio, the Court also found that the Complaint

easily alleged a Section 1985 conspiracy for numerous reasons, including that: “as the leader of

the Proud Boys, he would have participated in forming the announced ‘alliance’ and ‘orchestrated

plan’ with the Oath Keepers”; he made statements online about the Proud Boys going to the District

on January 6 in “records numbers” and about the Proud Boys showing up “incognito”; and because

it is “reasonable to infer that he would have been involved in the Proud Boys’ collection of tactical

vests, military-style communication equipment, and bear mace.” Id.

         The District’s claims are based on the same well-pleaded facts alleged in Thompson. The

Amended Complaint details how the Defendants “work[ed] together to coordinate their efforts at

the planned January 6th Attack,” and forced their way into the Capitol “actively seeking. . . to

disrupt the election certification process with threats and violence.” Am. Compl. ¶¶ 141, 372. With

respect to each moving Defendant, the District has alleged both an affiliation with other

conspirators and specific acts taken alongside coconspirators in furtherance of conspiracy’s goal.

For example, among other allegations, the Amended Complaint alleges that:

         •        Defendant Kuehne was a member or affiliate of the Proud Boys, and breached the
                  barricades together with other members and affiliates of the Proud Boys. Am.
                  Compl. ¶¶ 28, 308. 19

19
     The Amended Complaint also incorporates by reference the Superseding Indictment in which Kuehne is charged.
     See Am. Compl. ¶ 28. That indictment contains additional details about Kuehne’s involvement in the conspiracy,
     including that Kuehne and other coconspirators “stayed together in a short-term rental property,” met with other
     conspirators at the National Mall, agreed to travel together with other Proud Boys for the remainder of the day,
     affixed orange tape to their clothing and tactical gear as identifying insignia, and “traveled together throughout
     the Capitol building.” Superseding Indictment, United States v. Kuehne, No. 1:21-cr-00160-TJK, (D.D.C 2021),



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    •       Defendants C. Meggs and K. Meggs were members of the Oath Keepers,
            coordinated their travel to the District with other Oath Keepers, gathered firearms
            and ammunition and equipped themselves with communication devices, reinforced
            vests, helmets, and goggles, and formed a “military stack” with other Oath Keepers
            that maneuvered toward and forcibly entered the Capitol. Id. ¶¶ 29-30, 186, 197,
            244, 301, 345, 347.

    •       Defendant K. Meggs also sent a message to other Oath Keeper members explaining
            that they had “been issued a call to action for DC” and announcing an “alliance”
            between the Proud Boys and Oath Keepers, writing among other things that the two
            organizations “have decided to work together and shut this shit down” and that “at
            least 50-100” Oath Keepers would be in the District on January 6; that they would
            join with the Proud Boys, whom Meggs described as a “force multiplier”; and that
            the two groups would position themselves for maximum impact. Id. ¶¶ 113, 141 &
            Fig. 2, 144 & Fig. 3; see also ¶¶ 146-47 & Fig. 4 (detailing the plan that the Oath
            Keepers and Proud Boys “orchestrated”). K. Meggs also advised another
            participant in the Attack to bring “mace,” “gas masks,” “batons,” and “armor,” and
            communicated with other Oath Keepers about menacing United States Senators.
            Id. ¶¶ 171, 211, 425.

    •       Defendant Steele was a member of the Oath Keepers, traveled to the District
            together with other members of the Oath Keepers, and formed a “military stack”
            with other Oath Keepers—including moving Defendants C. and K. Meggs and
            Harrelson—that maneuvered toward and forcibly entered the Capitol. Id. ¶¶ 43,
            193 n.10, 345, 347-48, 356.

    •       Defendant Klein was a member of the Proud Boys, and obtained and used a police
            barricade to help others climb the Capitol walls and gain access to an external
            stairwell. Id. ¶¶ 27, 319.

    •       Defendant Minuta was a member of the Oath Keepers, participated with his
            coconspirators in invitation-only Signal discussions planning for the Attack on the
            Capitol, stayed near the District with his coconspirators, announced “that’s what I
            came here for!” after hearing that the Capitol was breached, wore tactical gear and
            rushed to join the “[p]atriots” who were “storming the Capitol building,” and
            accompanied his coconspirators in forcibly entering the Capitol and assaulting
            officers guarding the path from the Rotunda to the Capitol lobby. Id. ¶¶ 31, 128,
            167, 248, 338-39, 369, 376.

    •       Defendant Pepe was a member of the Proud Boys, stayed with a coconspirator on
            the night before the Attack on the Capitol, and joined with several coconspirators




¶¶ 25-33, 42-43, ECF No. 132. According to the Superseding Indictment, Keuhne purchased the orange tape to
be used in identifying other members of the conspiracy. Id.



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              to overwhelm the police and breach the outermost barricade protecting the Capitol
              on January 6. Id. ¶¶ 37, 261, 308.

       •      Defendant Tarrio was a member and leader of the Proud Boys, called for a “revolt”
              and promoted an invasion of the Capitol on social media, created and moderated a
              chat group in which Proud Boys exchanged messages about the forthcoming Attack
              on the Capitol, and communicated directly with rioters at the Capitol, encouraging
              and instructing them to remain at the Capitol. Id. ¶¶ 44, 231-34, 351, 353, 414.

       •      Defendant Biggs was a member of the Proud Boys, instructed other members of the
              Proud Boys to show up on January 6 disguised to blend in with other demonstrators,
              called for Members of Congress to be “dragged out of office and hung,”
              coordinated the Proud Boys’ movements and activities on the day of the Attack,
              and tore down fences, facilitating attacks on officers. Id. ¶¶ 14, 161, 235, 254, 285,
              310.

       •      Defendant Harrelson was a member of the Oath Keepers, participated in chats and
              meetings where plans for going to the District on January 6 was discussed, held a
              training session on “unconventional warfare,” transported firearms and ammunition
              to the Washington D.C. metropolitan area, breached Capitol barricades and
              maneuvered to the front of a crowd that pushed against a police line on the Capitol
              steps, joined a “military stack” with coconspirators including moving Defendants
              Steele, C. Meggs, and K. Meggs and forcibly entered the Capitol, pushed past law
              enforcement officers, and searched the Capitol for Speaker of the House Nancy
              Pelosi. Id. ¶¶ 24, 113, 121, 153, 167, 178, 210, 244, 331, 347-48, 356, 375.

       •      Defendant Ulrich was a member of the Oath Keepers, participated in an invitation-
              only encrypted chat group regarding January 6 wherein he stated that he would be
              “the guy running around with the budget [Armalite rifle], made plans for bringing
              guns to the Washington D.C. metropolitan area and did transport firearms and
              ammunitions there, traveled to the District with a coconspirator, and joined a
              “military stack” with coconspirators and entered the Capitol. Id. ¶¶ 45, 167, 173-
              74, 178, 199, 248, 369.

       •      Defendant Worrell was a member of the Proud Boys who participated in the
              January 6 Attack. Id. ¶ 48. Worrell appeared at the Capitol on January 6 equipped
              with a tactical vest and communications equipment. Id. ¶ 319. He sprayed a
              noxious substance (seemingly pepper spray gel) toward officers guarding an
              entryway to the Capitol on the west side. Id.

Moreover, each of the Defendants has been charged with crimes arising from their involvement in

the January 6 Attack, with several of the Defendants (including moving Defendants K. Meggs,

Minuta, Ulrich, Harrelson, Tarrio and Biggs) having been charged with, or having pleaded guilty




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to, seditious conspiracy. 20 Id. ¶ 90. These criminal allegations, which are incorporated by

reference in the Amended Complaint, further support the Defendants’ involvement in the

conspiracy. 21

         As this Court has already concluded, it is “reasonable to infer” from similarly pled facts

that Defendants shared the “general conspiratorial objective” of “disrupting the Certification”

and acted to further that objective. Thompson, 2022 WL 503384, at *30, *38.

         Seeking to avoid that conclusion, Defendants assert various arguments, none of which is

persuasive.

         Defendants Steele and Kuehne invoke Kurd v. Republic of Turkey, 374 F. Supp. 3d 37

(D.D.C. 2019), to assert that they were merely acting “in parallel” and not as part of a Section 1985

conspiracy. See Kuehne MTD 3-5; Steele MTD 17-18. But that case bears little resemblance to

the facts here. In Kurd, the Court found that “civilian defendants who attacked protesters were not

part of a Section 1985(3) conspiracy because there were “no allegations that the civilian

[d]efendants knew each other prior to the protest or that they communicated with each other during

the protest,” and therefore there was no basis to infer an “agreement” among the defendants rather

than “parallel conduct that could just as well be independent action.” Id. at 62 (quoting Twombly,

550 U.S. at 557). Here, the Amended Complaint expressly alleges each Defendant’s affiliation

with the Proud Boys or Oath Keepers, two violent groups whose members engaged in extensive

coordination and planning both before and during the January 6 Attack. See, e.g., Am. Compl. ¶¶



20
     As described above in Background Section F, the other Defendants charged with seditious conspiracy are Rhodes,
     Watkins, James, Hackett, Moerschel, Caldwell, Vallejo, Nordean, Pezzola, and Rehl. Defendant James has
     already plead guilty to seditious conspiracy.

21
     Every Defendant named in this case has been indicted by the Department of Justice for their involvement in the
     Attack on the Capitol. Those indictments recount and implicate each Defendant in precisely the conspiracy that
     the District alleges here..



                                                        43
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161, 308, 311, 314, 319, 323, 355. These facts indicate joint, rather than parallel, action. See

Lagayan v. Oldeh, 199 F. Supp. 3d 21, 31 (D.D.C. 2016) (“[A]ll Defendants . . . are related to one

another, making it reasonable to infer that their alleged actions were not mere parallel conduct”);

see also Halberstam, 705 F.2d at 481 (“The easiest situation in which to draw the inference of

agreement is where the parties are on the scene together at the same time performing acts in support

of one another. . . . Mutually supportive activity by parties in contact with one another over a long

period suggests a common plan.”).

        Defendant Steele’s invocation of Sines v. Kessler, 324 F. Supp. 3d 765 (W.D. Va. 2018),

is similarly unavailing. See Steele MTD 19. In Kessler, the court dismissed conspiracy claims

against a particular defendant, Michael Peinovich, on the grounds that there were “no allegations

that he participated in any violent acts” or appeared alongside any defendants during the incident

at issue. 324 F. Supp. 3d at 794-95. The allegations against Defendants here are very different.

The Amended Complaint alleges that Defendants, including moving Defendant Steele,

participated directly in the violent and unlawful acts of January 6 (e.g., by storming the Capitol),

and that they did so alongside other Defendants with whom they were affiliated. Defendants’

conduct here is thus far closer to the conduct of the other defendants in Kessler, whom the court

declined to dismiss based on their direct role in the violence alongside their coconspirators. See

id. at 784.

        Defendant Steele also argues that the Amended Complaint fails to allege that she entered

an agreement to achieve the particular goals of the conspiracy, namely: disruption of the

Certification, prevention of President Biden and Vice President Harris’s assumption and exercise

of office, and harm to Vice President Pence’s person and property. Steele MTD 17. And

Defendants C. Meggs and K. Meggs likewise argue that “not one fact is alleged that would be




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inconsistent with these Defendants alleged to have sought to protect and provide security as

volunteers for others.” Meggs MTD 11-12. 22

          Those arguments fail as well. The Amended Complaint alleges several statements by K.

Meggs indicating an intent to menace Members of Congress and impede the Certification. See

e.g., Am. Compl. ¶¶ 111-13, 141, 211. And the Amended Complaint alleges numerous other

Defendants’ similar statements and indications of intent to disrupt the Certification, obstruct the

transfer of power, and harm Vice President Pence. See, e.g., id. ¶¶ 136, 140-41, 150, 161, 322,

327.       Defendants’ enthusiastic response to those statements—including joining with

coconspirators who issued and endorsed those calls (in a “military stack,” no less), and physically

storming the Capitol—is reflective of a similar intent. Such conduct is wholly inconsistent with

providing security for a lawful protest. Defendants’ actions thus evince the “intent to disrupt the

Certification of the Electoral College vote through force, intimidation, or threats.” Thompson,

2022 WL 503384, at *33.

                   2.      There is No State Action Requirement for Section 1985(1) Claims.

          Certain Defendants assert that the District’s Section 1985(1) claims must fail because such

claims are “limited to constitutional violations by state actors.” Meggs. Mot. 12-13. That is

incorrect. The plain text of Section 1985(1) prohibits all conspiracies targeting federal officials,

whether by private individuals or under color of state law. See 42 U.S.C. § 1985(1) (“If two or

more persons in any State or Territory conspire . . .”). As the Seventh Circuit has explained,

Section 1985 was directed at the Ku Klux Klan and aimed to provide a federal remedy to private




22
     To the extent that Defendants argue that under the First Amendment, their “political rhetoric” may not be
     considered as evidence of intent, Meggs MTD 12, that is incorrect. See Lac Du Flambeau Band of Lake Superior
     Chippewa Indians v. Stop Treaty Abuse–Wisconsin, Inc., 991 F.2d 1249, 1260 (7th Cir.1993); see also Armstrong
     v. F.A.A., 296 F. App’x 88, 89 (D.C. Cir. 2008).



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misconduct in the face of inaction by state governments. See Stern v. U.S. Gypsum, Inc., 547 F.2d

1329, 1334 (7th Cir. 1977). If Section 1985 required state action, it would have failed to

accomplish its original and primary purpose. Unsurprisingly, the District is not aware of any legal

authority that suggests, let alone holds, that claims under Section 1985(1) require state action. See,

e.g., Liggins v. O’Sullivan, No. 3:19-CV-50303, 2022 WL 787947, at *6 (N.D. Ill. Mar. 15, 2022)

(noting that “§ 1985(1), like § 1985(3), is a restraint upon federal officers and private

organizations, as well as state action.” (emphasis added)).

         In suggesting a state action requirement, Defendants rely on cases that concern claims

brought under Section 1985(3), rather than Section 1985(1). See Meggs Mot. 12-13 (citing Bray

v. Alexandria Women’s Health Clinic, 506 U.S. 263, 278 (1993), and United Brotherhood of

Carpenters & Joiners of Am., Loc. 610, AFL-CIO v. Scott, 463 U.S. 825, 833 (1983)). This would

erroneously import Section 1985(3)’s requirement of state involvement into Section 1985(1), 23 but

courts have repeatedly rejected similar attempts. Stern, 547 F.2d at 1340 (rejecting the importation

of Section 1985(3)’s class-based animus requirement into Section 1985(1)); see also Kush v.

Rutledge, 460 U.S. 719, 726 (1983) (rejecting the same importation into Section 1985(2)). By the

statute’s plain terms, Section 1985(1) conspiracies do not depend on deprivations of “equal

protection,” but on interference with federal officials. Thompson, 2022 WL 503384, at *25.

Defendants’ attempt to manufacture a “state action” requirement is thus without basis in text or

precedent.




23
     The Supreme Court has explained that Section 1985(3) “can and does protect [constitutional] rights from
     interference by purely private conspiracies.” Carpenters, 463 U.S. at 833. However, because most constitutional
     rights require state action, such claims usually require that “the state was somehow involved in or affected by the
     conspiracy.” Id. That state “involvement” requirement does not apply to claims implicating the Thirteenth
     Amendment (which does not require state action), and may be satisfied where a private conspiracy hinders state
     action. See Bray, 506 U.S. at 278-79.



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                   3.        Generally Applicable Pleading Standards Apply to Section 1985(1)
                             Claims.

         Moving Defendants Klein, Minuta, and Pepe (and by joinder, Defendants Tarrio, Biggs,

and Worrell) argue that the general pleading standard under Rule 8 is inapplicable in this case

because plaintiffs must plead conspiracy claims “with particularity.” Klein MTD 16. This Court

explicitly rejected that argument in Thompson, stating that “Rule 9(b)’s heightened pleading

standard applies only to the two instances identified in the Rule: ‘the circumstances constituting

fraud or mistake.’” 2022 WL 503384, at *29 (quoting Leatherman v. Tarrant County Narcotics

Intelligence & Coordination Unit, 507 U.S. 163, 168 (1993)). This case also does not involve

claims for fraud or mistake. Thus, the Rule 8 general pleading standard is applicable, and the

District need only plead “a short and plain statement of the claim showing that the pleader is

entitled to relief.” Twombly, 550 U.S. at 555.

         The same moving Defendants also argue that the District’s Section 1985 claims requires

the District to plead “actual malice” because the claims are “based on speech.” Klein MTD 7.

Again, this Court rejected that argument in Thompson, when it made clear that an “actual malice”

requirement is applicable to Section 1985 claims “only when the conspiracy involved defamatory

conduct” against a public official. See 2022 WL 503384, at *61. No such claim is alleged here. 24




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     The Defendants’ cited cases do not support their argument. Both Tah v. Glob. Witness Publ’g, Inc., 991 F.3d
     231, 243 (D.C. Cir. 2021) and Montgomery v. Risen, 197 F. Supp. 3d 219, 266 (D.D.C. 2016), aff’d, 875 F.3d
     709 (D.C. Cir. 2017), apply the “actual malice” standard to defamation claims, and then dismiss related tort claims
     (e.g., false light, tortious interference) as a result. In doing so, those cases restate the well-established rule that “a
     plaintiff may not use related causes of action to avoid the constitutional requisites of a defamation claim,” and
     that where a plaintiff’s “defamation claims fail, so do his other tort claims based upon the same allegedly
     defamatory speech.” Montgomery, 197 F. Supp. at 267 (alterations omitted); see Farah v. Esquire Magazine,
     736 F.3d 528, 540 (D.C. Cir. 2013). Here, the District has not advanced a defamation claim, nor are any of the
     District’s claims related to or predicated on any allegedly defamatory speech.



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               4.      The District’s Injuries were Caused by the Conspiracy.

       Finally, several Defendants argue that the Amended Complaint does not plausibly allege

that their acts caused the District’s injuries because “the attack on the Capitol would have occurred

regardless” and because the District “cannot plausibly demonstrate any actions of Defendants were

the proximate cause of their injuries.” Klein Mot. 14. That argument fails as well.

       “Acts proximately cause a plaintiff’s injury if they are a substantial factor in the sequence

of responsible causation, and if the injury is reasonably foreseeable or anticipated as a natural

consequence.” Lopez v. Council on Am.-Islamic Rels. Action Network, Inc., 657 F. Supp. 2d 104,

110 (D.D.C. 2009), aff’d, 383 F. App’x 1 (D.C. Cir. 2010). And it is well-established that “once

[a] conspiracy has been formed, all its members are liable for injuries caused by acts pursuant to

or in furtherance of the conspiracy.” Halberstam, 705 F.2d at 481; see also Ex. Rel Miller v. Bill

Harbert Int’l Const., Inc., 608 F.3d 871, 904 (D.C. Cir. 2010) (a conspirator is “liable for its

coconspirators’ foreseeable actions in support of the conspiracy”).

       Here, the Amended Complaint describes each Defendant’s individual acts of violence, but

also alleges that the Defendants’ conspiracy as a whole engaged in acts of violence and played a

leading role in unleashing the larger mob. See e.g., Am. Compl. ¶ 310 (Defendants “tore down a

black metal fence that separated the crowd from law enforcement officers—thereby facilitating

access to MPD officers.”); ¶ 314 (“Members of the Proud Boys led the charge . . .”); ¶ 323

(Defendants “instigated a broader violent confrontation with the police.”). Because Defendants’

conduct was designed to bring about, and substantially contributed to, the larger mob’s violence,

Defendants’ conduct is a proximate cause of that violence. See Marsh v. Barry, 705 F. Supp. 12,

14 (D.D.C. 1988) (explaining that correctional officials could be the proximate cause of a

foreseeable prisoner riot, and the chain of causation “was not broken despite the activities of the

inmates themselves”). Defendants are therefore liable not only for their own physical acts of


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violence and those of their coconspirators, but also the foreseeable (and indeed desired) conduct

of the larger mob. As this Court has already explained based on similar allegations, “there can be

no genuine dispute at this stage that Defendants’ alleged acts were the proximate cause of

Plaintiffs’ claimed injuries.” Thompson, 2022 WL 503384, at *25.

          B.      The District Has Stated Claims Under Section 1986.

          To state a claim under Section 1986, a plaintiff must allege that defendants (1) had

“knowledge of a conspiracy proscribed in § 1985,” (2) possessed “the means to prevent the

conspiracy,” and (3) refused[] or neglect[ed] to exercise such power.” Thompson, 2022 WL

503384, at *19; see 42 U.S.C. § 1986; Bowie v. Maddox, 642 F.3d 1122, 1128, 1132 (D.C. Cir.

2011).

          Defendants make three arguments in support of their position that the District failed to

adequately plead its Section 1986 claim. Each is without merit.

          First, Defendants assert that because the District fails to plead the existence of a Section

1985 conspiracy, it also fails to adequately plead a Section 1986 claim. 25 For all the reasons

articulated above, see supra, Section III.A, the District adequately pleaded the existence of a

Section 1985 conspiracy.

          Second, several Defendants argue that the District fails to state a Section 1986 claim

because the Defendants were “minor” participants in the conspiracy who did not have the power

or ability to prevent the Section 1985 conspiracy “with reasonable diligence.” Steele MTD 7.

Specifically, Defendant Steele argues that because “the conspiracy was a network of perhaps a

dozen or more leaders who had been communicating with each other and working in tandem for

approximately two months prior to January 6,” the “person who had the power to prevent any


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     Kuehne MTD 9; Ulrich MTD 12; Steele MTD 20-21; Meggs MTD 8; Klein MTD 10.



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unlawful action was Donald Trump,” not Steele. Id. at 6-7. Defendants Klein, Minuta, and Pepe—

and, by joinder, Tarrio and Biggs—similarly assert that if “the Capitol Police could not stop the

protests,” there is nothing Defendants could “possibly have done to help stop the protests, even if

they knew what was going to happen.” Klein MTD 8. This argument is without merit.

       Section 1986 does not require that a defendant possess unilateral power to prevent an entire

conspiracy. Rather it requires only that a defendant fail to “aid in preventing” “any of the wrongs”

associated with a Section 1985 conspiracy. 42 U.S.C. § 1986 (emphasis added). Courts have thus

found that the failure to seize even minimal opportunities to aid in preventing tortious conduct can

produce liability, including: failing to “attempt to dissuade” one’s fellows from engaging in a

Section 1985 conspiracy, Vietnamese Fishermen’s Ass’n v. Knights of Ku Klux Klan, 518 F. Supp.

993, 1007 (S.D. Tex. 1981), or failing to inform authorities about the existence of a conspiracy,

Peck v. United States, 470 F. Supp. 1003, 1012-13 (S.D.N.Y. 1979). At the pleading stage,

allegations that an individual knew of a conspiracy and did nothing to stop it are sufficient to

establish a failure to aid in preventing the commission of the underlying conspiracy. See Mitchell

v. Cnty. of Nassau, No. 05-4957-SJF-WDE, 2007 WL 1580068, at *6 (E.D.N.Y. May 24, 2007)

(“[P]laintiff’s allegations that she informed ‘John Doe’ of [the conspiracy] . . . and that he failed

to take any action once so informed are sufficient, at the pleadings stage, to state a claim under

section 1986.”).

       The Amended Complaint pleads facts more than sufficient to establish that all of the

Defendants—including the moving Defendants—had the power to “aid in preventing” torts

associated with the conspiracy and that they failed to exercise “reasonable diligence” to do so. For

example, the Amended Complaint alleges that Defendants C. Meggs, K. Meggs, Steele, Harrelson,

Klein, Kuehne, Minuta, Pepe, Biggs, Ulrich, and Worrell were physically present and participated




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in the storming of the Capitol. See Am. Compl. ¶¶ 128, 161, 167, 235, 248, 254, 261, 285, 308,

310, 319, 338-39, 345, 347-48, 356, 369, 376. These Defendants could, at the very least, have

attempted to “dissuade” some of those surrounding them from continuing the Attack, or assisted

law enforcement. Vietnamese Fishermen’s Ass’n, 518 F. Supp. at 1007. They failed to do so.

       Moreover, Tarrio, as the leader of the Proud Boys, and creator and moderator of a chat

group in which Proud Boys exchanged messages about the forthcoming Attack, clearly held a

position from which he could have restrained or interfered with the planning and execution of the

Attack. See Am. Compl. ¶¶ 44, 231-34. Instead, he egged the rioters on. See id. ¶¶ 351, 353, 414.

       Defendants are also alleged to have disguised the conspiracy from the authorities, rather

than disclosing it, see id. ¶¶ 160-66 (Proud Boys appeared at the rally “incognito” and not “in

colors”); ¶¶ 167-69, 239-42 (Defendants communicated on encrypted channels, which they

changed in order to evade detection by law enforcement), and to have encouraged individuals to

join the mob, rather than dissuading participation, see id. ¶¶ 204-37 (Defendants promoted their

plans to attack the Capitol on public and encrypted platforms); ¶¶ 219-23, 225 (Tarrio and other

Proud Boys directed use of a “top down structure” at the event and encouraged participation in the

attack); ¶¶ 403-08, 413-15, 340-46 (Defendants kept in touch during the Attack and coordinated

their movements through encrypted social media channels). In short, the Amended Complaint

alleges that Defendants made efforts to maximize participation in and the impact of the Section

1985 conspiracy at the heart of this action. Those allegations clearly demonstrate a failure to

exercise “reasonable diligence” to prevent the wrongs associated with that conspiracy.

       Finally, certain Defendants allege—without support—that the District did not plead facts

sufficient to demonstrate that they knew about the conspiracy. See, e.g., Klein MTD 8. This

argument also fails. Each Defendant (except for Tarrio) is alleged to have gone to the Capitol on




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January 6 with the intent to commit violence to prevent the certification of the results of the 2020

Presidential election, and to have taken steps in furtherance of that conspiracy by forcibly entering

the Capitol building and committing acts of violence. 26 Moreover, the Amended Complaint pleads

that the Proud Boys’ and Oath Keepers’ leadership promoted the Attack to members and affiliates

and recruited them to join the conspiracy, Am. Compl. ¶¶ 3, 94, 102–29, 155, 157, 175–77, 220;

that members of the Proud Boys and Oath Keepers—including Defendants—amplified their

leaders’ promotion of the Attack, both publicly and in private chats with their coconspirators, id.

¶¶ 108–29, 149–59; and that Defendants communicated through encrypted channels widely used

by Defendants and their coconspirators all throughout the Attack, id. ¶¶ 403-08, 413-15, 340-46.

Each of those allegations provides ample indication that Defendants knew about the Attack. 27

         C.        The District Has Stated Civil Conspiracy Claims for Assault, Battery, and
                   Intentional Infliction of Emotional Distress.

         The District has also sufficiently alleged civil conspiracy claims for assault, battery, and

intentional infliction of emotional distress. Under D.C. law, to state a claim for assault, a plaintiff

must plausibly allege “an intentional and unlawful attempt or threat, either by words or acts, to do

physical harm to the victim.” Evans-Reid v. District of Columbia, 930 A.2d 930, 937 (D.C. 2007)

(citation omitted); see Bushrod v. District of Columbia, 521 F. Supp. 3d 1, 29 (D.D.C. 2021)

(citation omitted). To state a claim for battery, a plaintiff must plausibly allege an “intentional act




26
     The one exception is Defendant Tarrio, who is alleged to have helped plan the Attack and encouraged it from
     afar. Am. Compl. ¶¶ 231-34, 351, 353, 414. This Court has already held, based on substantially similar
     allegations, that “it is reasonable to infer” from Tarrio’s leadership position and statements that he played a central
     role in organizing the conspiracy. Thompson, 2022 WL 503384, at *38. That same position provided him with
     an opportunity to “aid in preventing” the conspiracy—an opportunity he rejected.

27
     The Federal Rules of Civil Procedure expressly permit a party to “plead alternative theories of liability, regardless
     of whether such theories [are] consistent with one another.” Scott v. District of Columbia, 101 F.3d 748, 753
     (D.C. Cir. 1996); see Fed. R. Civ. P. 8(d)(2). Thus, to the extent that the Court has expressed skepticism that a
     Section 1985 conspirator can simultaneously be liable under Section 1986, see Thompson, 2022 WL 503384, at
     *19 n.16, both sets of claims should survive the motion to dismiss stage.


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that causes harmful or offensive bodily contact.” Evans-Reid, 930 A.2d at 937 (D.C. 2007)

(citation omitted); see Bushrod, 521 F. Supp. 3d at 29 (D.D.C. 2021). And to state a claim for

intentional infliction of emotional distress, a plaintiff must plausibly allege “(1) extreme and

outrageous conduct on the part of the defendants, which (2) intentionally or recklessly (3) causes

the plaintiff severe emotional distress.” Competitive Enterprise Institute v. Mann, 150 A.3d 1213,

1260 (D.C. 2016). A plaintiff may pursue claims not only against the immediate tortfeasor, but

also against that tortfeasor’s coconspirators, so long as the tortious conduct was reasonably

foreseeable and done to advance the overall object of the conspiracy. Halberstam, 705 F.2d at

477, 487; see Executive Sandwich Shoppe, Inc. v. Carr Realty Corp., 749 A.2d 724, 738 (D.C.

2000).

         Here, Defendants do not dispute that the Amended Complaint plausibly alleges that MPD

officers (for whom the District proceeds as a subrogee) were assaulted or battered during the

Attack on the Capitol. And only Defendants C. Meggs and K. Meggs dispute that the Amended

Complaint alleges that MPD officers suffered sufficiently severe emotional distress in the Attack.

See Meggs MTD 21-22. Instead, several Defendants argue that they cannot be liable because they

did not specifically agree to commit the particular torts alleged. Meggs MTD 15-17; Klein MTD

10-12. Several Defendants further argue that they cannot be liable because the torts were

committed by “third-party actors,” rather than by Defendants or their coconspirators. Klein MTD

11-12. 28 Each of those arguments are without merit.

         First, contrary to Defendants K. Meggs and C. Meggs’ argument, the Amended Complaint

adequately alleges an intentional infliction of emotional distress claim. As the D.C. Court of


28
     As with the Section 1985(1) claims, several Defendants argue that the District failed to plead facts indicating that
     they participated in a conspiracy, rather than “parallel” conduct. Kuehne MTD 3-5; Steele MTD 17-20. That
     argument fails for the reasons discussed above.



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Appeals has explained, to state a claim for severe emotional distress, the distress must go beyond

mere “mental anguish and stress” and must be “of so acute a nature that harmful physical

consequences are likely to result.” Competitive Enterprise Institute, 150 A.3d at 1260 (citation

omitted). A relevant factor in determining whether distress reaches this threshold is whether a

plaintiff sought “medical assistance for physical or psychological injury.” Kotsch v. District of

Columbia, 924 A.2d 1040, 1046 (D.C. 2007). Here, the Amended Complaint alleges that MPD

officers “suffered extensive psychological injuries,” and that “the clinical director of the

Metropolitan Police Employee Assistance Program[] has worked with nearly 1,000 officers since

the January 6th Attack in an effort to help them cope with the physical and emotional trauma.” Id.

¶ 454. The Amended Complaint also alleges that the injuries to MPD officers were “severe and

sustained over time,” such that some officers “were still on leave months after the Attack as a

result of the trauma they suffered at the Defendants’ hands.” Id. ¶ 455. Such allegations easily

establish sufficient emotional distress. Harris v. U.S. Dep’t of Veterans Affs., 776 F.3d 907, 917-

18 (D.C. Cir. 2015) (“Normally, severe emotional distress is accompanied or followed by shock,

illness, or other bodily harm, which in itself affords evidence that the distress is genuine and

severe.”) (citing Restatement (Second) of Torts § 46 cmt. k).

       Defendants’ argument regarding the absence of agreement to engage in the specified torts

fares no better. To be liable as a coconspirator, a defendant need not agree to commit the particular

torts at issue. Rather, he only need agree “to do an unlawful act or a lawful act in an unlawful

manner,” Halberstam, 705 F.2d at 487—for example, to interfere with the certification of an

election. Once such an agreement has been established, a defendant can be liable even if “he

neither planned nor knew about the particular overt act that caused injury, so long as the purpose

of the act was to advance the overall object of the conspiracy.” Id.




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       As explained above, the District plausibly alleged that Defendants entered into a conspiracy

for the purpose of disrupting the Certification in violation of Section 1985(1), see supra, Section

III.A.1. Defendants are thus vicariously liable for all reasonably foreseeable tortious acts taken by

their coconspirators in furtherance of that goal. See Halberstam, 705 F.2d at 477, 487.

       The Amended Complaint alleges that several coconspirators committed tortious acts in

furtherance of that goal. For example, the Amended Complaint describes Defendants and their

coconspirators attacking MPD officers as part of their effort to breach the Capitol and disrupt the

Certification. See e.g., Am. Compl. ¶¶ 314, 315, 319, 356, 361, 375-77, 393-402. Moreover, the

tortious conduct at issue—specifically, violent altercations with police—was a reasonably

foreseeable consequence of the conspiracy to disrupt the Certification. Indeed, the Amended

Complaint makes clear that Defendants equipped themselves with weapons and armor, knew that

the Capitol complex was closed to the public and guarded by police, and asserted that “cops are

the primary threat.” Id. ¶¶ 171-83, 215, 227-28, 255, 286. The District thus plausibly alleged that

the assault, battery, and infliction of emotional distress on MPD officials were reasonably

foreseeable and in furtherance of an unlawful objective. All Defendants are therefore liable for

their coconspirators’ tortious conduct, even if they did not specifically agree to particular acts.

       Defendants’ characterization of the tortious acts committed here as “third-party” conduct

likewise fails, for at least two reasons.       First, Defendants are simply incorrect in their

characterization.   The Amended Complaint does not simply allege acts of violence by an

undifferentiated mob; it specifically alleges that numerous Defendants themselves directly engaged

in relevant tortious conduct as part of a conspiracy. For example, the Amended Complaint alleges

that various Defendants “forced their way past the barricades, [and] assaulted officers,” “grabbed

a police barricade in an attempt to wrench it from law enforcement,” “sprayed a noxious substance




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(seemingly pepper spray gel) toward a line of police officers,” “assaulted police officers” guarding

the Rotunda door, “push[ed] past law enforcement,” and “grabbed” an MPD officer by the vest

and “pulled him toward the mob.” Id. ¶¶ 315, 318, 319, 356, 375, 376; see also id. ¶¶ 393-402.

Because Defendants were engaged in a conspiracy, they are all jointly and severally liable for the

actions of their coconspirators, including the tortious conduct identified above. See Halberstam,

705 F.2d at 474, 481; Acosta v. Islamic Republic of Iran, 574 F. Supp. 2d 15, 31 (D.D.C. 2008).

       Second, Defendants’ liability is not limited to those physical acts of violence directly

perpetrated by Defendants and their coconspirators. Rather, Defendants are also vicariously liable

for “knowingly and substantially assist[ing]” in the tortious acts of much of the rest of the mob.

Halberstam, 705 F.2d at 477. Here, multiple Defendants provided precisely such knowing and

substantial assistance to the assault, battery and infliction of emotional distress on MPD officers

by others. For example, Defendants and their coconspirators cleared away barricades and tore

down fencing to “facilitat[e] access to MPD officers,” urged the mob onward “with a bullhorn,”

“led the charge,” “used [a] police barricade to help others climb the Capitol walls” and outflank

police, and “direct[ed]” those around them “to overtake law enforcement.” Am. Compl. ¶¶ 308,

310, 314, 319, 325, 333, 360. Because such conduct constitutes knowing and substantial assistance

of the mob violence, Defendants are vicariously liable for the violence they and their

coconspirators assisted. See Atchley v. AstraZeneca UK Ltd., 22 F.4th 204, 221-23 (D.C. Cir.

2022); Halberstam, 705 F.2d at 478. The Amended Complaint thus sufficiently alleges acts of

battery, assault and intentional infliction of emotional distress against MPD officers that are

attributable to Defendants.

IV.    The January 6 Attack Was Not Protected Speech Under the First Amendment.

       This Court has already considered—and “quickly dispense[d]” with—the argument that

Defendants Klein, C. Meggs, K. Meggs, Minuta, Pepe, Biggs, Tarrio, Harrelson and Worrell make


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here, see Meggs MTD 11-12; Klein MTD 7, that violently breaching the Capitol is protected

expression under the First Amendment. Thompson, 2022 WL 503384, at *47. The same result

should follow here.

        The First Amendment to the Constitution provides, in pertinent part, that “Congress shall

make no law . . . abridging . . . the right of the people . . . to petition the Government for a redress

of grievances.” However, “the First Amendment does not protect violence.” Thompson, 2022 WL

503384, at *47 (quoting NAACP v. Claiborne Hardware Co., 458 U.S. 886, 913 (1982)). Nor does

it protect “speech that caused violence or constituted threats of violence.” Id. at 40.

        This Court determined in Thompson that conduct substantially identical to that engaged in

by Defendants in this case was outside the protections of the First Amendment. In Thompson, the

Oath Keepers argued that their “alleged acts were protected speech, assembly, and petitioning.”

Id. at *47. The Court rejected that argument because “[t]he Oath Keepers are alleged to have acted

violently by breaching the Capitol building with the rest of the riotous mob, wearing paramilitary

equipment, helmets, reinforced vests and clothing with Oath Keepers paraphernalia, moving in a

regimented manner as member of the military are trained.” Id. (internal quotation marks and

citation omitted). The Court explained that “[s]uch actions, if true, are not entitled to First

Amendment protection.” Id.

        As in Thompson, the District has alleged that Defendants “acted violently by breaching the

Capitol building with the rest of the riotous mob.” Id. (quotation marks omitted); see Claiborne,

458 U.S. at 916. Here, Defendants “violently clash[ed] with the MPD and Capitol Police officers”

guarding the Capitol, and, after gaining entry, continued their “violent rampage”—all while

searching for election Certification proceedings and individuals with official functions to make

good on their threats to disrupt the election Certification process. Am. Comp. ¶¶ 307, 372. These




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actions are not expressions of the political rhetoric, assembly, or protest entitled to constitutional

protection—they are acts of violence. 29

         With respect to the particular Defendants who moved to dismiss the District’s complaint,

as in Thompson, each has engaged in specific acts of violence that cannot be mistaken for protected

speech. In its Amended Complaint, the District alleges that each of Defendants Biggs, Harrelson,

Klein, C. Meggs, K. Meggs, Minuta, Pepe, Tarrio, Ulrich, and Worrell engaged in acts that spurred

and threatened violence. Specifically, the District alleged:

         •        Defendant K. Meggs posted on social media that he saw people “talking” but not
                  “doing” and asking people to direct message him if they wished to “join the fight,”
                  which he described as needing to take place “face to face.” Am. Compl. ¶ 114.

         •        Defendant Ulrich coordinated with other Oath Keepers Defendants about what
                  weapons they would bring to the Capitol, telling other group members that he
                  would “be the guy running around with the budget AR” and that he would have a
                  “separate backpack with [his] ammo load out with some basics that [he] can just
                  switch too is [sic] shit truly the [sic] fan blades[.]” Id. ¶ 173. Ulrich, along with
                  other Oath Keepers Defendants, purchased firearms that he transported, along with
                  ammunition and other equipment, to the Washington, D.C. metropolitan area prior
                  to the Capitol Attack. Id. ¶¶ 178, 199, ¶ 248. Once at the Capitol, Ulrich joined
                  with other Defendants in a “military stack” formation and forced his way into the
                  Capitol. Id. ¶ 369.

         •        Defendants C. Meggs and K. Meggs were part of a group of Oath Keepers
                  coconspirators who wore helmets, reinforced vests, and goggles during their attack
                  on the Capitol. Id. ¶ 301. Once at the Capitol, they joined with other Defendants
                  in a “military stack” formation and forced their way into the Capitol. Id. ¶¶ 345-
                  47. They then entered the Capitol and “assaulted police officers guarding the door
                  in order to breach the building, including by throwing objects at the officers and
                  deploying chemical irritants against them.” Id. ¶ 356.

         •        Defendant Minuta, also an Oath Keepers member, rushed to join the mob, stoking
                  and threatening violence, stating “there’s violence against patriots by the D.C.

29
     Further underscoring that there is no First Amendment protection for the conduct alleged against the Defendants
     here is the fact that 16 of them have been charged with seditious conspiracy, which criminalizes a conspiracy to
     “put down, or to destroy by force the Government of the United States.” 18 U.S.C. § 2384. To the extent the
     allegations that form the basis of that charge are at issue here, they militate against the application of a First
     Amendment defense.




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             Police; so we’re en route . . . Patriots storming the Capitol building right now . . .
             war in the streets . . . let’s go.” Id. ¶ 339. He wore paramilitary gear and joined
             another military “stack” formation to force his way into the Capitol. Id. ¶ 369. He
             was armed with bear spray and other tactical gear and joined in another military
             “stack” formation to force his way into the Capitol. Id.

      •      Defendant Harrelson, another Oath Keeper defendant, transported firearms and
             ammunition to the Washington D.C. metropolitan area, breached Capitol barricades
             and maneuvered to the front of a crowd that pushed against a police line on Capitol
             steps, joined a “military stack” with coconspirators, and forcibly entered the
             Capitol, pushed past law enforcement officers, and searched the Capitol for Speaker
             of the House Nancy Pelosi. Id. ¶¶ 178, 210, 244, 331, 347-48, 356, 375.

      •      Defendant Biggs, a leader of the Attack, called for Members of Congress to be
             “dragged out of office and hung,” led and coordinated the Proud Boys’ movements
             and activities on the day of the Attack, and tore down fences facilitating attacks on
             officers. Id. ¶¶ 14, 161, 235, 252, 256, 258, 285, 310. Biggs entered the Capitol
             on multiple occasions, pushing past law enforcement officers. Id. ¶¶ 336-37, 354,
             366.

      •      Defendant Proud Boys member Klein pushed through police barricades and then
             used the barricade to help other members of the mob climb the Capitol walls and
             gain access to an external stairwell. Id. ¶ 319. At the same time, Proud Boys
             member Worrell, also wearing a tactical vest, sprayed a noxious substance
             (seemingly pepper spray gel) toward a line of police officers guarding the Capitol’s
             west side. Id.

      •      Defendant Fellow Proud Boys member Pepe “overwhelmed the police and
             breached the outermost barricade that had been erected to protect the Capitol.” Id.
             ¶ 308. After overcoming the police, Pepe forced his way into the Capitol. Id. ¶
             373.

      •      Defendant Tarrio spurred on the violence. Prior to the Attack, he encouraged
             violence by instructing Proud Boys members to “spread across downtown D.C. in
             smaller teams” than in the past, “conceal [their] intentions,” “pose as a friend, work
             as a spy,” “crush [their] enemy totally,” and “keep others in suspended terror.” Id.
             ¶ 164. During the Attack, he made several public social media posts encouraging
             the Proud Boys Defendants and their coconspirators to engage in further violence,
             including: “After I finish watching this I’ll make a statement about my arrest . . .
             But for now I’m enjoying the show . . . Do what must be done,” id. ¶ 349; “Don’t
             fucking leave,” id. ¶ 351. He also posted a message to other Proud Boys leaders
             saying, “[d]o it again.” Id. ¶ 387.

      Such actions—if proven—are plainly not entitled to First Amendment protection.

Thompson, 2022 WL 503384, at *47.



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V.     The Amended Complaint Does Not Violate Federal Rule of Civil Procedure 8.

       Certain Defendants argue that the Amended Complaint should be dismissed with prejudice

because it is a lengthy and confusing “shotgun pleading” that violates Rule 8. See Meggs MTD

22-26. This argument is baseless and without merit.

        Rule 8 requires, for each claim for relief, a “short and plain statement of the claim showing

that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Moreover, “[e]ach allegation must

be simple, concise, and direct.” Fed. R. Civ. P. 8(d)(1). Enforcing these rules, by way of striking

or dismissing a complaint, is “largely a matter for the trial court’s discretion.” Ciralsky v. C.I.A.,

355 F.3d 661, 669 (D.C. Cir. 2004).

       The thrust of Defendants’ argument is that the Amended Complaint is of “excessive length”

and therefore is not “a short and plain statement of the claim.” Meggs MTD 22, 24. But Rule 8

does not require a “short and plain complaint,” but rather a “short and plain statement of the claim”:

it requires that “each averment of a pleading be simple and concise,” not “each pleading itself.”

Ciralsky, 355 F.3d at 670 (emphases in original). Length is not, by itself, a basis for striking or

dismissing a complaint under this Rule. See, e.g., Middlebrooks v. St. Coletta of Greater

Washington, Inc., 2009 WL 3163061, at *1 (D.D.C. Sept. 30, 2009) (denying motion to strike a

complaint under Rule 8(a) because “[a]lthough plaintiff’s complaint is lengthy, it is not

incomprehensible”); Trew v. Am. Inst. of Intradermal Cosms., Inc., 2005 WL 1079316, at *1 (W.D.

Tenn. May 3, 2005) (denying a motion to dismiss a complaint under Rule 8 that boiled down to

the contention that the complaint was “just too long”). Indeed, dismissal for violating Rule 8 “is

usually reserved for those cases in which the complaint is so confused, ambiguous, vague, or

otherwise unintelligible that its true substance, if any, is well disguised.” Simmons v. Abruzzo, 49

F.3d 83, 86 (2d Cir.1995); see Ciralsky, 355 F.3d at 671 n.9.




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         The Amended Complaint does not meet this standard. This case involves a complex fact

pattern resulting in multiple claims against 37 individuals and two organizations. The District is

required to allege facts that, in addition to providing Defendants with notice of the basis of those

claims, are also sufficient to makes the claims “plausible” rather than merely “conceivable.”

Ashcroft v. Iqbal, 556 U.S. 662, 683 (2009). The Amended Complaint’s detailed allegations meet

that requirement.

         The Defendants fail to identify any portions of the Amended Complaint that are so

extraneous or confusing so as to render the pleading as a whole “unintelligible.” Simmons, 49 F.3d

at 86. Beyond general allegations about length, the Defendants’ sole specific contention is that

the Amended Complaint is improper because its counts reincorporate by reference the preceding

allegations. Meggs MTD 25-26. But that practice does not violate Rule 8. See, e.g., Maynard v.

Melton, 2021 WL 6845008, at *4 (D.D.C. Apr. 7, 2021) (rejecting motion to dismiss on basis that

the complaint violated Rule 8 because each count incorporated by reference all prior allegations

of fact, stating that “mere surplusage” should “be ignored”) (quotation marks omitted)). The

Defendants’ argument should be rejected. 30




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     Moreover, even if the Defendants had articulated a Rule 8 violation, and they have not, they would not be entitled
     to the dismissal with prejudice that they seek. See Meggs MTD 26. “[I]t will generally be an abuse of discretion
     to deny leave to amend when dismissing a nonfrivolous original complaint on the sole ground that it does not
     constitute the short and plain statement required by Rule 8.” Ciralsky, 355 F.3d at 670. In sum, the Defendants
     have not articulated a Rule 8 violation, let alone one warranting dismissal with prejudice.



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                                        CONCLUSION

        For all the reasons stated herein, the Defendants’ Motions to Dismiss should be denied in

their entirety.

 Dated: July 29, 2022

 Counsel for Plaintiff District of Columbia:

 KARL A. RACINE, ATTORNEY GENERAL
 FOR THE DISTRICT OF COLUMBIA

 By:     /s/ Kathleen Konopka
         Kathleen Konopka (D.C. Bar 495257)
         Vikram Swaruup (D.C. Bar 1670692)
         Brendan B. Downes (D.C. Bar 187888)
         400 6th St. NW
         Washington, DC 20001
         Tel: 202-724-6533
         Email: vikram.swaruup@dc.gov


 STATES UNITED DEMOCRACY CENTER                        THE ANTI-DEFAMATION LEAGUE

 By:     /s/ Norman Eisen                              By: /s/ Eileen Hershenov
         Norman Eisen (D.C. Bar 435051)                     Eileen B. Hershenov
         1420 K Street NW                                   605 Third Avenue
         Washington, DC 20005                               New York, NY 10158-3650
         Tel: 202-656-8178                                  Tel: 212-885-5805
         Email: norm@statesuniteddemocracy.org              Email: ehershenov@adl.org

 By:     /s/ Christine Sun                         PAUL, WEISS, RIFKIND, WHARTON &
         Christine P. Sun                          GARRISON LLP
         Katherine Reisner
         3749 Buchanan St., No. 475165             By: /s/ Jeannie Rhee
         San Francisco, CA 94147-3103                  Jeannie S. Rhee (D.C. Bar 464127)
         Tel: 615-574-9108                             2001 K Street, NW
         Email:christine@statesuniteddemocracy.org     Washington, D.C. 20006-1047
                katie@statesuniteddemocracy.org        Tel: 202-223-7300
                                                       Fax: 202-223-7420
                                                       Email: jrhee@paulweiss.com




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By:   /s/ Aaron Scherzer                         By: /s/ Daniel Kramer
      Aaron Scherzer                                 Daniel J. Kramer
      572 Valley Road, No. 43592                     Andrew J. Ehrlich
      Montclair, NJ 07043                            Erin J. Morgan
      Tel: 862-367-6480                              1285 Avenue of the Americas
      Email: aaron@statesuniteddemocracy.org         New York, NY 10019-6064
                                                     Tel: 212-373-3000
DECHERT LLP                                          Fax: 212-757-3990
                                                     Email: dkramer@paulweiss.com
By:   /s/ Matthew Larrabee                                   aehrlich@paulweiss.com
                                                             ejmorgan@paulweiss.com
      Matthew L. Larrabee
      1095 Avenue of the Americas
      New York, NY 10036-6797
      Tel: 212-698-3500
      Fax: 212-698-3599
      Email: matthew.larrabee@dechert.com

By:   /s/ Vincent Cohen

      Vincent H. Cohen, Jr. (D.C. Bar 471489)
      D. Brett Kohlhofer (D.C. Bar 1022963)
      1900 K Street, NW
      Washington, D.C. 20006-1110
      Tel: 202-261-3300
      Fax: 202-261-3333
      Email: vincent.cohen@dechert.com
             d.brett.kohlhofer@dechert.com

By:   /s/ Michael Doluisio

      Michael S. Doluisio
      2929 Arch Street
      Philadelphia, PA 19104-2808
      Tel: 215-994-2000
      Fax: 215-994-2222
      Email: michael.doluisio@dechert.com




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                                CERTIFICATE OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 5, a copy of the foregoing filing is being

served electronically on those parties who have appeared and registered with the Court’s ECF

system. Plaintiff is serving remaining defendants via first class mail or other permitted means.



                                              /s/ Jeannie S. Rhee
                                              Jeannie S. Rhee (D.C. Bar 464127)
                                              PAUL, WEISS, RIFKIND, WHARTON
                                              & GARRISON LLP
                                              2001 K Street, NW
                                              Washington, DC 20006-1047
                                              Tel: 202-223-7300
                                              Fax: 202-223-7420
                                              Email: jrhee@paulweiss.com




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